Case 1:21-cv-00863-CFC Document 1-1 Filed 06/17/21 Page 1 of 155 PageID #: 12




       EXHIBIT A
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
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                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 21 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:113




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

NICOLE BOLT COMER,                              )
                                                )
                              Plaintiff,        )   C.A. No.
                                                )
               v.                               )
                                                )
MOSHE LEHRER a/k/a MAX LEHRER;                  )   JURY TRIAL DEMANDED
AVRAHAM LEHRER a/k/a JOE LEVIN;                 )
ROSA LEHRER; and KMI GROUP, INC.,               )
a New York corporation,                         )
                                                )
                              Defendants.       )

                                           COMPLAINT

       Nicole Bolt Comer (“Ms. Comer”) files this Complaint against (i) Moshe Lehrer a/k/a Max

Lehrer (“Moshe Lehrer”), (ii) Avraham Lehrer a/k/a Joe Levin (“Avraham Lehrer”), (iii) Rosa

Lehrer, and (iv) KMI Group, Inc., a New York corporation (“KMI” and, together with Moshe

Lehrer, Avraham Lehrer, and Rosa Lehrer, “Defendants”) and states as follows:

                               PRELIMINARY STATEMENT

       1.      Avraham Lehrer and Moshe Lehrer (father and son) have terrorized, harassed and

blackmailed Ms. Comer. Rosa Lehrer and Moshe Lehrer used KMI to maliciously prosecute civil

legal proceedings against Ms. Comer in multiple Delaware courts and to commit slander of title

by recording a lis pendens against Ms. Comer’s real property in blatant disregard of Delaware law.

       2.      Moshe Lehrer is a former employee of Comer Enterprises, Inc., a Pennsylvania

corporation (“CEI”). Ms. Comer is the sole owner, CEO and President of CEI. During the term of

Moshe Lehrer’s employment with CEI, Moshe Lehrer and Ms. Comer were in discussions for

Moshe Lehrer to buy 49% of the stock of CEI and 49% of the stock of The Allere Group

Professional Corporation, a Pennsylvania corporation (“The Allere Group”) of which Ms. Comer’s
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
                          Document
                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 32 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:214




father, Barney P. Bolt, Jr. (“Mr. Bolt”) is the sole shareholder and Ms. Comer is the President and

CEO.

       3.      In the summer of 2020, Ms. Comer became aware that (i) Moshe Lehrer had

defrauded her, CEI and The Allere Group, and (ii) Moshe Lehrer and Avraham Lehrer were

conspiring to extort Ms. Comer. Thus, on September 24, 2020, CEI (acting through Ms. Comer)

terminated Moshe Lehrer as an employee. Simultaneously, Ms. Comer and Mr. Bolt terminated

talks with Moshe Lehrer regarding their potential stock transaction.

       4.      Immediately following Moshe Lehrer’s termination, Defendants commenced a

campaign to reverse CEI’s and Ms. Comer’s decision through a repetitive drum beat of terroristic

threats, harassment, blackmail, malicious prosecution of civil proceedings, and slander of title

including by, upon information and belief, the following acts: (i) Moshe Lehrer made an

outlandishly false police report targeted at Ms. Comer; (ii) Moshe Lehrer harassed Ms. Comer by

emailing a large list of Ms. Comer’s business contacts and CEI employees a defamatory and

threatening statement concerning Ms. Comer; (iii) Moshe Lehrer and/or Avraham Leher terrorized

Ms. Comer and Mr. Bolt by sending Ms. Comer messages threatening her father’s (Mr. Bolt) life;

(iv) Moshe Lehrer and Avraham Lehrer made terroristic threats via telephone to Ms. Comer, her

husband,1 her then 20-year old daughter, at least one personal friend of Ms. Comer’s, and CEI

employees; (v) Rosa Lehrer caused KMI Group, with Moshe Lehrer’s guidance and participation,

to maliciously prosecute civil legal proceedings against Ms. Comer without any legal or factual

justification whatsoever; and (vi) Rosa Lehrer caused KMI Group’s attorneys to unlawfully record




1
  Ms. Comer and her husband are in the final stages of a long divorce process but remain
professional colleagues and mutually supportive co-parents.


                                               -2-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
                          Document
                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 43 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:315




a bogus lis pendens against Ms. Comer’s personal residence in hopes of frustrating an imminent

sale of the property.

       5.       Plaintiff seeks to put an end to Defendants’ actions by requesting temporary,

preliminary, and permanent injunctive relief ordering Defendants to immediately cease and desist

from contacting Ms. Comer, Mr. Bolt, anyone in Ms. Comer’s family, and/or anyone in Ms.

Comer’s social or professional orbit, as well as damages associated with Defendants’ outrageous

conduct.

                                        JURISDICTION

       6.       The Court has jurisdiction over the subject matter of the above-captioned civil

action (this “Action”) pursuant to 28 U.S.C. § 1332.

       7.       The amount in controversy in this Action, exclusive of interest and costs, exceeds

the sum or value of $75,000.

       8.       Venue in the District of Delaware is proper pursuant to 28 U.S.C. § 1391 because

a substantial part of the events or omissions giving rise to the claims asserted herein occurred in

the State of Delaware.

                           PARTIES AND RELEVANT PERSONS

       A.       Nicole Bolt Comer

       9.       Ms. Comer is an adult citizen of the State of Delaware.

       10.      Ms. Comer is the founder, Chief Executive Officer (“CEO”), President, and sole

owner of CEI.

       11.      Ms. Comer is the CEO and President of The Allere Group.

       12.      Ms. Comer is Mr. Bolt’s daughter.

       13.      Ms. Comer is the former owner of 12 Autumnwood Drive, Newark, Delaware.




                                               -3-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
                          Document
                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 54 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:416




       B.       Barney P. Bolt, Jr.

       14.      Mr. Bolt is the sole owner of The Allere Group.

       15.      Mr. Bolt is Ms. Comer’s father.

       C.       Comer Enterprises, Inc.

       16.      CEI is a Pennsylvania corporation with offices in Kennett Square, Pennsylvania.

       17.      CEI is an outsource information technology labor provider (a staffing company)

with niche specialty in the financial services sector.

       18.      Ms. Comer is the sole stockholder, President and CEO of CEI.

       D.       The Allere Group Professional Corporation

       19.      The Allere Group is a Pennsylvania corporation with offices in Kennett Square,

Pennsylvania.

       20.      The Allere Group is an outsource information technology labor provider (a staffing

company) with niche specialty in the financial services sector.

       21.      Mr. Bolt is the sole stockholder of The Allere Group.

       22.      Ms. Comer is the CEO and President of The Allere Group.

       E.       Moshe Lehrer a/k/a Max Lehrer

       23.      Moshe Lehrer is an adult citizen of the State of Florida. Upon information and

belief from personal knowledge and the attached Broward County Police Report No. 34-2011-

180576, concerning Arrest # 20-02793 (the “Broward County Police Report”), Moshe Lehrer has

a permanent address of 4020 Galt Ocean Drive 110, Fort Lauderdale, Florida, 33308.

       24.      Moshe Lehrer uses the alias “Max” and is commonly known as “Max Lehrer.”

       25.      Moshe Lehrer has also used the aliases “Max Lear” and “Max Lehar.”




                                                  -4-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
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                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 65 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:517




       26.     Moshe Lehrer is involved in the business of brokering and/or making merchant cash

advance loans. Separately, Moshe Lehrer is involved in purchases and sales of art.

       27.     Moshe Lehrer is Avraham Lehrer’s son.

       28.     Moshe Lehrer was born on March 28, 2001 and, thus, as of the date of the filing of

this Complaint, is 19 years old.

       29.     Upon information and belief, Moshe Lehrer is (and has been) involved in the world

of merchant cash advance lending or, at least, his name has been used in connection with merchant

cash advance lending.

       30.     Moshe Lehrer is involved with, at least, three separate merchant cash advance

businesses with offices in Florida, California and New York.

       31.     From December 5, 2018 and continuing through the date hereof, Moshe Lehrer has

served and serves as manager of a merchant cash advance lending business named USD Funding,

LLC (https://www.usdfunding.com/), a Florida limited liability company, with an address of 5301

North Federal Highway, Suite 395, Boca Raton, Florida, 33487.

       32.     Moshe Lehrer is, or, at least as of October 1, 2020, was, involved with a merchant

cash advance lending business named Shield Funding (https://shieldfunding.com/) with a New

York office at 2 West 46th Street, Suite 204, Mezzanine Floor, New York, New York, 10036 and

a California office at 6837 Hayvenhurst Avenue, Van Nuys, California, 91406.

       33.     Moshe Lehrer serves as registered agent of – and is otherwise involved with – a

merchant cash advance lending business named TGVZG LLC, a Florida limited liability company

with an address of 3300 Port Royale Drive, Apartment 349, Fort Lauderdale, Florida, 33308.




                                              -5-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
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                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 76 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:618




       F.      Avraham Lehrer a/k/a Avi Lehrer a/k/a Joe Levin

       34.     Avraham Lehrer is an adult citizen of the State of Florida who, upon information

and belief resides at 4020 Galt Ocean Drive 110, Fort Lauderdale, Florida, 33308. In addition,

Avraham Lehrer may continue to maintain a residence at 12 Rockingham Road, Spring Valley,

New York, 10977-1114.

       35.     Avraham Lehrer is Moshe Lehrer’s father.

       36.     Avraham Lehrer uses the alias “Joe Levin” and also is known as “Avi Lehrer.”

       37.     Avraham Lehrer, using the alias “Joe Levin,” holds himself out as a private

investigator operating as T.O.T. Consulting Services. See http://www.totpi.com/.

       38.     However, in Avraham Lehrer’s alternative world where he pretends to be “Joe

Levin,” his credentials, honesty and qualifications as a private investigator have been called into

question by at least one source. See https://totpiexposed.wordpress.com/totpiscam/ (“Joe Levin is

not who you think, the man’s real name is Avraham Lehrer and has gone by other names before,

he’s done this because he’s had some run-ins with the law for bribery, and corporate espionage

against a Jewish business. It has become a common thing for him to change his name, with all the

laws broken, scams, and just ripping people off, he’s constantly forced to change his name. He’s

a fraud, and scam artist who’s taken money from hard working Jewish families, and left them with

nothing in return. He’s supposed to be a big Private Investigator but turn’s out he doesn’t even

have a Private Investigator’s license; himself and his business TOTPI are scams. His helicopters

he has pictured, and undercover car’s aren’t his. It’s all phony advertising to suck people in that

are in need of help, they are not provided any solutions to their problems. Don’t let Joe Levin aka

Avraham Lehrer trick you, I’m sure his next name change is right around the corner!”).




                                               -6-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
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                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 87 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:719




       39.     Upon information and belief based on news reports, Avraham Lehrer was charged

in 2011 for attempting to bribe a secretary to copy computer files containing information pertaining

to her employer. See https://nypost.com/2011/07/18/pi-busted-as-kosher-spy/ (“Avraham Lehrer,

36, was charged last Thursday with offering a secretary at Shop Delight in Great Neck a $1,000

bribe to copy computer files full of information on suppliers, prices and customers.”).

       40.     Upon information and belief based on the Broward County Police Report, Avraham

Lehrer is alleged to have been involved with his son, Moshe Lehrer in, at least, one violent crime.

As stated in the “Probable Cause Affidavit” section of the Broward County Police Report,

Avraham Lehrer played an integral in the incident leading to his then 19-year old son’s (Moshe

Lehrer’s) arrest on November 25, 2020 (emphasis added):

               The defendant, 19 [year old] LEHRER, and his father followed the
               60 [year old] victim to his residential parking lot with the belief that
               the victim was hired to stalk them. LEHRER and his father
               approached the victim and confronted him at which time the victim
               repeatedly said that they had the “wrong guy.”

               The victim exited his vehicle and told them he just moved to town
               2 weeks ago and has not part in what they are alleging. LEHRER
               and his father became very aggressive making threats and scaring
               the victim while recording him on their cell phones. When the
               victim swatted a phone from out of his face, LEHRER sprayed the
               victim with pepper-spray. The victim raced back into his vehicle
               and tried to get away when LEHRER’s father jumped on the hood
               of the victim’s vehicle in a “Hollywood-style” manner to prevent
               him from leaving. The victim drove away with the father on the
               hood, as LEHRER rear-ended and side-swiped the victim’s vehicle
               with his own. LEHRER eventually cut off the victim and forced
               him to stop as officers arrived on scene. Approximately $8000 in
               damage was observed on the victim’s vehicle. The victim wishes to
               prosecute and stated that this crime was done against his will.

               Surveillance video and cellphone video captured this event from
               multiple angles and viewed by officers. This incident was captured
               on BWC.




                                                -7-
Case
 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
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                                 1-11 Filed
                                      Filed 06/17/21
                                            03/04/21 Page
                                                     Page 98 of
                                                             of 155
                                                                33 PageID
                                                                    PageID#:#:820




       41.     Attached as Exhibit A is the Broward County Sheriff’s Office Offense Report No.

34-2011-180576, concerning Arrest No. 20-02793, Moshe Lehrer’s November 25, 2020 arrest.

       42.     Upon information and belief based on review of relevant case law, Avraham Lehrer

was sanctioned by the New York Supreme Court, Kings County, for frivolously commencing civil

proceedings. As stated in 762 Park Place Realty, LLC v. Lehrer, 2015 WL 1933986, at *4 (N.Y.

Sup. Ct.April 29, 2015):

               Defendant also moves to impose sanctions upon plaintiff Avraham
               Lehrer and for an award of reasonable attorneys' fees. The authority
               to impose sanctions is left to the court's discretion (see Landes v
               Landes, 248 A.D.2d 268, 269 [1st Dept 1998]). Conduct during
               litigation is sanctionable if it is "completely without merit in law or
               fact and cannot be supported by a reasonable argument for the
               extension, modification, or reversal of existing law" or if "it is
               undertaken primarily to delay or prolong the resolution of litigation,
               or to harass or maliciously injure another, or it asserts material
               factual statements that are false" (Mascia v Maresco, 39 A.D.3d 504,
               505 [2d Dept 2007]). The Court finds that sanctions are warranted
               here because it is undisputable that Avraham had surrendered his
               interest in 762 Park Place prior to bringing this action. The 2008
               Agreement clearly states that this is the case, and Avraham does not
               dispute having signed this document. Therefore, it was frivolous for
               Avraham to bring the instant action and assert that he was the sole
               member of 762 Park Place and that Shlomo had no interest in 762
               Park Place.

       43.     As set forth herein, the Delaware State Police issued a warrant for Avraham

Lehrer’s arrest in connection with certain of the subject matter of this complaint, namely, terroristic

threats against Ms. Comer.

       G.      Rosa Lehrer.

       44.     Rosa Lehrer is an adult citizen of the State of Florida who, upon information and

belief resides at 4020 Galt Ocean Drive 110, Fort Lauderdale, Florida, 33308.

       45.     Rosa Lehrer is Moshe Lehrer’s mother.

       46.     Rosa Lehrer is Avraham Lehrer’s wife.



                                                 -8-
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  Case
     1:21-cv-00863-CFC
        1:21-cv-00334-UNADocument
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                                        Filed06/17/21
                                              03/04/21 Page
                                                        Page10
                                                             9 of
                                                               of 33
                                                                  155PageID
                                                                      PageID#:#:9 21




        47.    Rosa Lehrer is the owner of KMI.

        J.     KMI Group, Inc.

        48.    KMI Group is a New York corporation with its principal place of business in New

York.

        49.    KMI is in the business of merchant cash advance lending.

        50.    KMI is owned and controlled by Rosa Lehrer, Moshe Lehrer’s mother and

Avraham Lehrer’s wife.

                                 FACTUAL BACKGROUND

        A.     CEI Experienced Difficulties From 2018 through 2019 Due to Use of
               Merchant Cash Advance Loans to Cover Cash Flow Interruptions.

        51.    As a staffing company, CEI’s business model requires that it pay its contractors

every week, regardless of the fact that CEI does not get paid as regularly by its clients. Thus,

strategic management of cash flow is essential.

        52.    In 2018, CEI experienced difficulties with cash flow that prompted it to use

merchant cash advance (“MCA”) loans to cover cash flow interruptions. As happens with many

businesses that use MCA loans, amounts due under such loans snowballed and began to affect

CEI’s financial structure on a deeper level than cash flow.

        53.    Negotiation with the MCA lenders and managing cash flow under the overarching

burden of a series of MCA loans required an inordinate amount of focus for a small business like

CEI.

        54.    By the summer of 2019, CEI had consulted with bankruptcy counsel and readied

for a bankruptcy filing.

        55.    On August 18, 2019, CEI filed for chapter 11 bankruptcy in the Eastern District of

Pennsylvania to achieve a global resolution to CEI’s MCA-related challenges.



                                               -9-
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 10
                                                         11 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1022




       B.      Moshe Lehrer Secured a Position Based on Fraud.

       56.     In the midst of its ill-fated experiment with MCA loans, CEI applied to a business

named “Shield Funding” for funding. In response, Ms. Comer received an email on October 24,

2018, that stated it was from “max lehar” and was signed “Max Lear.”

       57.     Thus, the October 24, 2018 email was Ms. Comer and CEI’s first interaction with

Moshe Lehrer. Moshe Lehrer’s email stated as follows:

               From: max lehar
               Sent: Wednesday, October 24, 2018 12:36 PM
               To: Nicole Bolt Comer
               Subject: Trying to reach you

               Hey,
               This is Max from Shield Funding. We see that you applied for some
               funding on our website and I have been trying to reach you.
               If you can kindly call me back at your earliest convenience so that
               we can get you get you funded promptly.
               Additionally, I am attaching our application. Please fill it out and
               send it back together with the last 4 months of your business banking
               statements to expedite the process.
               If you have any questions, call me at any time.
               Looking forward in working with you.
               --
               Max Lear
               (347)977-6757
               Shield Funding

       58.     A true and correct copy of Moshe Lehrer’s October 24, 2018 email to Ms. Comer

is attached as Exhibit B.

       59.     From October 2018 through the summer of 2019, Ms. Comer and other CEI

employees maintained contact with Moshe Lehrer as he brokered merchant cash advance

financings for CEI.

       60.     Ms. Comer met Moshe Lehrer in person on July 1, 2019, when he appeared

uninvited at her house to tell her he could help her business.




                                               - 10 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 11
                                                         12 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1123




       61.      Thereafter, Moshe Lehrer gained access to CEI as an employee after achieving Ms.

Comer’s confidence through a series of intentional misrepresentations regarding his skills,

abilities, experience and business relationships.

       62.      Moshe Lehrer misrepresented himself as having (i) financial acumen sufficient to

be a chief financial officer, (ii) the ability to obtain inexpensive financing to cover periodic cash

flow shortfalls, (iii) experience sufficient to guide a company such as CEI and/or The Allere

Group, and (iv) the business relationships necessary to generate new business for CEI and/or The

Allere Group.

       63.      In reliance on Moshe Lehrer’s misrepresentations, in July 2019, Ms. Comer and

Mr. Bolt entered into talks with Mr. Lehrer to purchase 49% of the stock in CEI and 49% of the

stock in The Allere Group. In exchange for the stock, Mr. Lehrer promised to make a $600,000

investment into CEI and/or the Allere Group.

       64.      Over the course of the following year, Ms. Comer noticed that Moshe Lehrer did

not ever perform the work of a chief financial officer, obtain inexpensive financing, provide any

valuable or meaningful contributions to the leadership of CEI and/or The Allere Group, or generate

any new business for CEI and/or The Allere Group. Ms. Comer realized over the course of that

year that all Moshe Lehrer did was broker exorbitantly expensive merchant cash advance loans for

CEI. In addition to all of the foregoing, Moshe Lehrer did not make his promised $600,000 capital

contribution to either or both of CEI and/or The Allere Group.

       65.      In addition, although Moshe Lehrer visited the offices with some regularity from

September 2019 through February 2020, from and after the onset of the global COVID-19

pandemic, it was obvious that Moshe Lehrer stopped doing anything whatsoever for CEI or The

Allere Group.




                                               - 11 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 12
                                                         13 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1224




       66.     Moshe Lehrer fancied himself as a middle man for CEI’s negotiations with MCA

lenders. In reality, Moshe Lehrer acted as a broker for more high-interest MCA loans, all for his

own benefit.

       C.      Moshe Lehrer Pushed for CEI to Engage “Joe Levin” to Perform Services for
               CEI Without Ever Telling Ms. Comer that “Joe Levin” Was an Alias for
               Avraham Lehrer, Moshe Lehrer’s Father.

       67.     On numerous occasions after gaining interior access to CEI and The Allere Group,

Moshe Lehrer recommended to Ms. Comer that she engage the services of a man named “Joe

Levin” to perform services for CEI and/or The Allere Group.

       68.     Moshe Lehrer never told Ms. Comer or anyone else at CEI that “Joe Levin” was

actually his father, Avraham Lehrer.

       69.     In July 2019, at Moshe Lehrer’s suggestion, Ms. Comer engaged “Joe Levin” to

provide protection for her and her family after receipts of odd threats to her and her family. Neither

Ms. Comer nor anyone in her family ever received any threats before Moshe Lehrer and “Joe

Levin” appeared in their lives.

       70.     In the spring of 2020, “Joe Levin” contacted Ms. Comer and gave her unsolicited

advice regarding how to manage funds related to CEI’s paycheck protection (“PPP”) loan in the

spring of 2020. “Joe Levin” later told Ms. Comer that his unsolicited advice was worth $75,000

and demanded that CEI pay him that amount. Moshe Lehrer supported “Joe Levin’s” demand for

$75,000.

       71.     In the summer of 2020, “Joe Levin” contacted Ms. Comer and told her that he

needed to be compensated for his help with CEI’s negotiations with MCA lenders.

       72.     Ms. Comer was incredulous at “Joe Levin’s” demand for payment.




                                                - 12 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 13
                                                         14 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1325




       73.     In response, “Joe Levin” continued to argue that he should be paid for services he

alleged he provided to CEI and/or Ms. Comer and that he wanted to “keep it civil.”

       74.     Ms. Comer told Moshe Lehrer that “Joe Levin’s” suggestion felt like a shakedown

and she would not pay “Joe Levin” because “Joe Levin” did not do anything for CEI.

       75.     In response, Moshe Lehrer strenuously advocated for paying “Joe Levin” and said

that “Joe Levin” should be paid $100,000 over twelve (12) months for services allegedly provided.

       76.     Moshe Lehrer never told Ms. Comer that “Joe Levin” is actually his father – or that

“Joe Levin’s” real name is Avraham Lehrer.

       77.     “Joe Levin” also never told Ms. Comer that his real name is Avraham Lehrer or

that he is Moshe Lehrer’s father.

       D.      Ms. Comer, CEI and The Allere Group Terminated All Relationships and
               Interactions with Moshe Lehrer.

       78.     On September 24, 2020, Ms. Comer met with Moshe Lehrer at the offices of CEI

and The Allere Group in Kennett Square, Pennsylvania, and informed Moshe Lehrer that he was

terminated from his employment with CEI and that Ms. Comer and Mr. Bolt were terminating all

talks toward Moshe Lehrer’s purchase of 49% of the stock of CEI and/or The Allere Group (the

“Termination Meeting”).

       79.     Ms. Comer was accompanied at the Termination Meeting by CEI’s corporate

attorney, CEI’s chief operations officer, and a personal friend.

       80.     When Ms. Comer told Moshe Lehrer the reasons for his termination, primarily the

fact that he is a fraud, Moshe Lehrer stated, “I can explain all of my lies.”

       81.     Moshe Lehrer was irate at the Termination Meeting and threatened Ms. Comer

before leaving the room.




                                                - 13 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 14
                                                         15 of
                                                            of 33
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        E.      Following the Termination Meeting, Moshe Lehrer and Avraham Lehrer
                Terrorized Ms. Comer and her Family, in an Attempt to Extract a Settlement
                from Ms. Comer.

                1.      False Police Report

        82.     Moshe Lehrer’s and Avraham Lehrer’s campaign of terror against Ms. Comer

started with a false police report.

        83.     Immediately following the Termination Meeting, Moshe Lehrer walked across the

street to the Kennett Square Police Station (Borough of Kennett Square) and made an outlandishly

false and defamatory police report against Ms. Comer. Specifically, Moshe Lehrer falsely reported

to the Kennett Square Police Department that Ms. Comer sexually assaulted him when he was a

minor after prying him with copious amounts of alcohol.

        84.     Ms. Comer did not meet Moshe Lehrer in person until after he was eighteen (18)

years old. Ms. Comer never had sex with Moshe Lehrer.

                2.      Relying on Moshe Lehrer’s False Police Report and Other False
                        Statements, “Joe Levin” and Moshe Lehrer Blackmailed Ms. Comer.

        85.     Next, Moshe Lehrer’s and Avraham Lehrer’s campaign of terror moved to

blackmail.

        86.     Shortly after the Termination Meeting on September 24, 2020, Avraham Lehrer,

still posing as “Joe Levin,” texted Ms. Comer the following text, furthering his and Moshe Lehrer’s

refrain of “sexual abuse” and/or “underage soliciting” and other untrue statements, all of which

have continued throughout their campaign of terror against Ms. Comer:

                Good morning Nicole,
                I hope you are having a beautiful morning as I am myself.
                I know that your broke, and most likely paying your lawyer with
                sex.
                I’m just curious if he’s still next to you…?
                Maybe he can help you answer these questions:
                How many years are you facing for underage soliciting?



                                              - 14 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                   1 Filed
                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 15
                                                         16 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1527




               How many years are you facing in federal prison for lying to the
               bankruptcy court?
               How many years are you facing for laundering money, wire fraud,
               and tax evasion?
               And how many years are you facing for hiring a hit man to kill your
               husband Mark?

               When he gives you these answers, I hope you’ll be able to enjoy the
               rest of your day. Because you have absolutely no idea what you just
               did to yourself.

               Wishing you a great rest of your day!
               With much love,
               Joe

       87.     A true and correct copy of the text sent September 24, 2020 at 11:35 a.m. from

Avraham Lehrer, posing as “Joe Levin,” to Ms. Comer is attached as Exhibit C.

       88.     From October 1, 2020 through October 7, 2020, Avraham Lehrer, still posing as

“Joe Levin,” sent another round of texts to Ms. Comer, plainly attempting to blackmail her with

Moshe Lehrer’s and his refrain of untrue statements concerning Ms. Comer’s character. A true

and correct copy of the texts sent between October 1, 2020 and October 7, 2020, from Avraham

Lehrer to Ms. Comer is attached as Exhibit D.

               3.      Death Threats and other Terroristic Threatening Voicemails.

       89.     Moshe Lehrer’s and Avraham Lehrer’s campaign of terror against Ms. Comer then

transitioned to death threats.

       90.     On September 25, 2020, someone “spoofed” Ms. Comer’s daughter’s telephone

number (making the call appear as it was coming from her daughter’s cell phone). During that

call, a male individual told Ms. Comer that he was going to blow her head off.

       91.     Ms. Comer recognized the voice on the other end of the line as “Joe Levin” (now

known to be Avraham Lehrer).

       92.     Ms. Comer reported the death threat to the Delaware State Police.



                                             - 15 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                   1 Filed
                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 16
                                                         17 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1628




       93.    Subsequent to further investigation, relevant Delaware law enforcement authorities

issued a warrant for Avraham Lehrer’s arrest. Attached as Exhibit E is a print-out of publicly

available information concerning Warrant No. 0620005390, DUC no. 2010006528, for the arrest

of Avraham Lehrer.

       94.    On October 14, 2020, Ms. Comer’s husband (also an employee of CEI), daughter,

executive assistant at CEI, chief operating officer of CEI, former financial manager and outside

corporate attorney all received terrifying communications.

       95.    The voicemail to Ms. Comer’s executive assistant stated as follows:

              Hey Liz – listen – you f**k with the wrong people. Nicole f**k
              with the wrong people and so did you and you’re going to f**kin’
              go down for it. You f**kin’ hear me? I know where you f**kin’
              live. I’m gonna come there and slit your f**kin’ throat. You f**kin’
              dumb bitch.

       96.    The voicemail to Ms. Comer’s husband, also a co-worker of Ms. Comer’s, stated

as follows:

              Hey Marc – How you doing aah? Listen you f**k with the wrong
              motherf**kin’ people. I’m gonna come after you so f**kin’ hard
              you ain’t gonna f**kin feel [indecipherable] I’m gonna cut your
              f**kin’ dick off and send it to your f**kin’ daughter, you f**kin’
              hear me? Do not f**k with the wrong people.

       97.    The voicemail to Ms. Comer’s daughter (then 20 years old) stated as follows:

              Hey Natalie – listen – tell your mother she better do the right thing
              before it’s too late. No more f**kin’ money, no f**kin’ people can
              protect her anymore. You hear me? If you love your mother, tell
              her to do the f**kin’ right thing.

       98.    The voicemail to Ms. Comer’s personal friend stated as follows:

              Hey Sharon how you doin’ – listen – I hope you enjoyed your trip
              to Bermuda wit’ Nicole. Next time I f**kin’ see you with her, I’m
              gonna f**kin kill you. You f**kin’ hear me? You ain’t f**kin’
              with the wrong people ever again.




                                             - 16 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 17
                                                         18 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1729




          99.    The voicemail received by CEI’s corporate attorney stated as follows:

                 Hey Joe – I hope you enjoy Nicole’s f**kin’ pussy. Listen – I’m
                 coming after you. I’m gonna cut your f**kin’ dick off and put it in
                 her f**kin’ corpse. You f**kin’ hear me? You’re both gonna be
                 f**king dead. Stop f**kin’ with the wrong people.

          100.   Moshe Lehrer is the only common thread between all of the people that received

voicemails on October 14, 2020. Moshe Lehrer knew all of the people who received voicemails.

          101.   In addition, Moshe Lehrer is the only person outside of CEI that knew the identity

of CEI’s corporate attorney – because he attended the Termination Meeting. In fact, CEI had never

had any interaction with the attorney that attended the Termination Meeting prior to his work to

prepare for the Termination Meeting and otherwise concerning CEI’s interactions with Moshe

Lehrer.

          102.   Neither Ms. Comer, CEI, nor The Allere Group is or has been involved in any

violently contentious matters nor has either of them had any significantly adverse interactions with

anyone – except Moshe Lehrer.

          103.   Avraham Lehrer’s and Moshe Lehrer’s death threats and harassment were always

coupled with timely emails imploring Ms. Comer and to settle with them. Their texts were often

laced with attempts to blackmail Ms. Comer with outlandishly false accusations.

          104.   One such text From Avraham Lehrer to Ms. Comer’s husband, received on

September 25, 2020, continued with the same refrain of untrue allegations against Ms. Comer,

including the preposterous allegation of “underage sexual relations.”             Avraham Lehrer’s

September 25, 2020 text to Ms. Comer’s husband stated as follows:

                 Good afternoon Mark,
                 From the very first time I met you, I noticed the level your
                 intelligence and intellect. For that alone, I hope you decide to relay
                 some smart advice to Nicole.




                                                 - 17 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 18
                                                         19 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1830




               You and I both know that there is no way she getting away with all
               of this. Especially considering the $700k that Max put down
               recently, plus more.
               There is plenty against her right now from money laundering, tax
               evasion, wire fraud, underage sexual relations, and the list goes
               on….
               For children to see their own mother being accused/indicted on such
               charges can be horrifying, embarrassing, and detrimental.
               There’s a way to avoid this, I just hope that you choose to try and
               help her see that.

       105.    A true and correct copy of the September 25, 2020 text from Avraham Lehrer to

Ms. Comer’s husband is attached as Exhibit F.

       106.    Moshe Lehrer also continued to beg for a settlement of his purported claims against

Ms. Comer. One such text, received by Ms. Comer’s husband on September 26, 2020, stated as

follows:

               Good morning
               I know you have clear instructions not to answer. But in matter of
               the fact you’re the only one that can fix this. Trust me and call me.
               You dont have to speak just listen
               I promise you 5min wont’ do any harm
               Don’t call me later when it’s too late
               This is a rookie mistake
               Please send me your attorneys info we believe you were apart of this
               scam

       107.    A true and correct copy of the September 26, 2020 text from Moshe Lehrer to Ms.

Comer’s husband is attached as Exhibit G.

       108.    On January 21, 2021 Avraham Lehrer and/or Moshe Lehrer sent a barrage of

harassing, defamatory and not-so-subtly threatening texts to Ms. Comer’s, CEI’s and The Allere

Group’s business contacts. The January 21, 2021 emails and texts continued Avraham Lehrer’s

and Moshe Lehrer’s blackmail regarding “sexual misconduct and abuse.” It is not yet known how

many such texts and emails were sent. The texts of which Ms. Comer is aware all stated as follows:

               Hello [name]



                                              - 18 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 19
                                                         20 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:1931




               You are receiving this message in regards to your affiliation with
               Nicole comer.
               As you may be aware, Nicole has been implicated recently in a slew
               of unscrupulous business dealings in addition to sexual misconduct
               and abuse allegations.
               This is a warning to you that as the situation proceeds we are not
               concerned with collateral damage. For your own sake do not be
               deluded by alignments and predispositions; Nicole must be avoided
               at all costs.

       109.    The texts sent on January 21, 2021 all purport to be signed with a reference to an

infamously treacherous gang. But it is clear that these messages emanated from either Moshe

Lehrer and/or Avraham Lehrer because: (i) Ms. Comer is not and has not been in any significant

conflict with anyone other than Moshe Lehrer and Avraham Lehrer; (ii) Ms. Comer has never been

the subject of any allegations of sexual misconduct or abuse except for the outlandishly false and

defamatory allegations stated by Moshe Lehrer and Avraham Lehrer; and (iii) the texts were sent

to a relatively recent list of CEI business contacts – which are known to Moshe Lehrer by virtue

of his now-terminated access to CEI and The Allere Group business.

       110.    In the midst of the barrage of defamatory texts and emails to Ms. Comer’s business

contacts on January 21, 2021, Moshe Lehrer texted Ms. Comer a picture of a computer monitor

showing a portion of a spreadsheet of CEI business contacts with red lines superimposed,

scratching out the names with smiley faces with hearts in place of eyes.

       111.    A true and correct copy of the text with the photo sent by Moshe Lehrer to Ms.

Comer is attached as Exhibit H.

               4.     Escalated Violence

       112.    As later discovered by Ms. Comer and Mr. Bolt, on January 29, 2021, Avraham

Lehrer and Moshe Lehrer’s campaign of terror against Ms. Comer took on a markedly new level

of violence and extended to Ms. Comer’s father, Mr. Bolt.




                                              - 19 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 20
                                                         21 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2032




       113.    On January 30, 2021, Mr. Bolt received an unsolicited visit from the Delaware State

Police at his home in Delaware. Mr. Bolt was told that the Delaware State Police had received a

call from the Pennsylvania State Police that there were two incidents in Pennsylvania the night

before (on January 29, 2021) concerning two individuals who were demanding information

concerning Mr. Bolt’s whereabouts. The representative of the Delaware State Police said that he

was there to make sure Mr. Bolt was okay.

       114.    Thereafter, Ms. Comer and Mr. Bolt inquired of the Pennsylvania State Police to

obtain the facts of what happened on January 29, 2021 in Pennsylvania.

       115.    Ms. Comer and Mr. Bolt learned that there were two incidents and was told the

following by the Pennsylvania State Police:

                  In the first incident, two men forced their way into a home where Mr. Bolt
                   lived previously, brandished a fire-arm and demanded that the current
                   resident tell them where Mr. Bolt lives. During this incident, the two men
                   stated that Mr. Bolt’s daughter is the subject of sexual abuse allegations.

                  In the second incident, two men were caught trying to break into another
                   home where Mr. Bolt lived previously and were run off into the night after
                   being seen by a neighbor.

       116.    On February 4, 2021, Ms. Comer received a text, referring to one of Mr. Bolt’s

previous addresses involved in the incidents of January 29, 2021, which stated as follows:

               Find out what happened at 143 honey. Lucky day for your dad. I
               assure You Next time there will be no mistake on the address.
               See you soon

       117.    The February 4, 2021 text concerning Ms. Comer’s father and “143 honey”

purports to be signed by a well-known violent street gang but it is clear that the text received

February 4, 2021 emanates from Avraham Lehrer and Moshe Lehrer because: (i) it makes clear

that the incidents of January 29, 2021 were an effort to terrify Ms. Comer; (ii) the men who forced

their way into one of the homes on January 29, 2021 explicitly mentioned Avraham Lehrer and


                                              - 20 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 21
                                                         22 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2133




Moshe Lehrer’s continued refrain of bogus allegations against Ms. Comer of sexual assault and

abuse; (iii) Ms. Comer has never before and never since been accused of sexual misconduct;

(iv) Ms. Comer had never before and never since had any interactions with anyone that would get

so heated as to prompt a violent home invasion, other than her ongoing experience with Avraham

Lehrer’s and Moshe Lehrer’s campaign of false police reporting, blackmail and terroristic threats.

       118.    A true and correct copy of the text received by Ms. Comer on February 4, 2021

concerning Ms. Comer’s father and “143 honey” is attached as Exhibit I.

       119.    Also on February 4, 2021, Ms. Comer received another text from multiple different

phone numbers, which were all clearly sent by Avraham Lehrer, stating as follows:

               Hi Nicole
               Hope all is well. It has been some time since we last connected.
               As you are aware you are getting pretty close to an expiration date.
               Just to remind you of all your business adventures you Nicole
               Comer are responsible for.
                        1. Regarding the loan you received from PPP it is a full
               fledge fraud you know. The good news is that the government
               offered to the public 30% of the total loan to anyone reporting fraud.
                        2. In reference to the Silvercup, bankruptcy case it will be
               reopened.
                        3. Regarding Santander and Mr. Hecht the proof of you
               committing fraud is on the table.
                        4. Regarding all personal and sexual assault charges with
               Max will be handled by my lawyer.
                        5. In reference to your lawyer Joe I am happy that you are
               getting your desirable needs taken care of for your pleasure.
                        6. In reference to your bankruptcy lawyer Rob your personal
               needs are a huge game player but you so kindly manipulated him
               that you forgot to tell him the truth. He will have no choice but to
               go tell the judge the truth.
                        7. Regarding your two beautiful children may god bless
               them with health wealth and happiness.
               Your daughter Natalie who has unfortunately never met her
               biological dad and your son Max, two pure souls. Why would a
               devoted caring mom want to give her children more pain?
               Why would a daughter want to drag her special needs father (who
               got naked in the bank) into more pain?




                                               - 21 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 22
                                                         23 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2234




                Nicole I hope you are in good spirits. I know we all go through
                challenges in our lives and we can get dragged down by not healthy
                emotions, unfortunately. We all have the same god and thankfully
                he always gives us a second chance.
                The Seven Laws of Noah include prohibitions against worshiping
                idols, cursing God, murder, adultery and sexual immorality, theft,
                eating flesh torn from a living animal, as well as the obligation to
                establish courts of justice.
                On every dollar bill it says The UNITED STATES OF AMERICA
                [space] IN GOD WE TRUST.
                I hope and pray god gives you the strength to choice the truth.
                Wishing you and your family health wealth and happiness and inner
                Peace!

       120.     A true and correct copy of the text received by Ms. Comer on February 4, 2021 that

mentions Ms. Comer’s children by name, false allegations concerning a PPP loan, false allegations

of bankruptcy crimes, false allegations of sexual assault, and the Seven Laws of Noah, is attached

as Exhibit J.

       121.     Avraham Lehrer and/or Moshe Lehrer are the only two people in the world who

could have sent the February 4, 2021 text that mentions Ms. Comer’s children by name, false

allegations concerning a PPP loan, false allegations of bankruptcy crimes, false allegations of

sexual assault, and the Seven Laws of Noah.

       F.       Attempts to Get Avraham Lehrer and Moshe Lehrer to Stop Contacting Ms.
                Comer Have Failed.

       122.     Ms. Comer has tried on multiple occasions to get Avraham Lehrer and Moshe

Lehrer to stop contacting her. All attempts have been expressly disregarded by Avraham Lehrer.




                                               - 22 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 23
                                                         24 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2335




               1.      Failed Attempt No. 1: September 25, 2020

       123.    On September 25, 2020, after the initial barrage of harassing texts and false police

report, CEI’s corporate attorney contacted the Lehrers’ attorney, Brian Condon, to advise him of

his clients’ behavior. During the course of that conversation, CEI’s corporate attorney demanded

that Brian Condon tell his clients to stop contacting Ms. Comer. In response, Brian Condon said

not to worry about the threatening (scary) text messages and harassment because “they’re not

violent.”

       124.    Thereafter, neither Moshe Lehrer nor Avraham Lehrer stopped texting Ms. Comer,

her family or certain of her friends.

               2.      Failed Attempt No. 2: October 6, 2020

       125.    On October 6, 2020, upon information and belief from direct communication with

a Delaware State Police Trooper, a representative of the Delaware State Police contacted Brian

Condon to inform Brian Condon that if Avraham Lehrer and Moshe Lehrer do not stop contacting

Ms. Comer that they will be arrested.

       126.    One hour later, Avraham Lehrer texted Ms. Comer and stated as follows:

               Dear Nicole and Mark,
               Interestingly enough, I just received a phone call from the Delaware
               Police Precinct. Stating that you had filed a police report against
               me. I’m assuming it’s just another one of your minions. As he
               refused to give me a call back number and only provided an email
               address…
               It’s funny to me that you think that I’ll loose any sleep over this.
               It’s truly the least of my worries.
               On the other hand, though, I want you to think about a hypothetical
               instance where you found out that I, a 43 year old man had sexual
               relations with your 20yr old daughter, gave her drugs and drinks at
               bars….etc?
               How would you feel?
               I’d only imagine you’d think of nothing less than killing me
               yourself.
               Now, imagine how I feel, knowing you did all that to MY son.



                                              - 23 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                   1 Filed
                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 24
                                                         25 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2436




               I honestly thought you were smarter than this Nicole.
               Seems to me that the deputy that called is also on your “special”
               payroll.
               Obviously I just wanted to wish you the upmost best!
               I always had faith in you!

       127.    A true and correct copy of Avraham Lehrer’s October 6, 2020 text to Ms. Comer

is attached as Exhibit K.

       128.    Since October 6, 2020, neither Avraham Lehrer nor Moshe Lehrer have stopped

contacting Ms. Comer.

       3.      Failed Attempt Nos. 3 and 4: October 14, 2020

       129.    On October 14, 2020, a representative of the Delaware State Police contacted Brian

Condon to advise him that Avraham Lehrer should turn himself in. In response, Brian Condon

told the Delaware State Trooper who called him that he will take the information but was no longer

involved.

       130.    Also on October 14, 2020, CEI’s corporate attorney called Brian Condon to inform

Brian Condon that his clients had just made a series of death threats to a host of Ms. Comer’s

family, professional colleagues and a personal friend. In response, Brian Condon said he is not

involved anymore and told CEI’s corporate attorney to not contact him again.

       G.      The Eastern District of Pennsylvania Action

       131.    In the midst of Avraham Lehrer’s and Moshe Lehrer’s campaign of terror against

Ms. Comer, Moshe Lehrer sued Ms. Comer in the Eastern District of Pennsylvania (the “EDPA

Action”). See Lehrer v. Comer, Case No. 2:20-cv-05228-GJP (E.D.Pa.), commenced October 20,

2020. Moshe Lehrer claims in the EDPA Action that he and Ms. Comer entered into a common

law partnership. Moshe Lehrer asserts claims against Ms. Comer for (i) breach of partnership; (ii)




                                              - 24 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                   1 Filed
                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 25
                                                         26 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2537




breach of fiduciary duty; and (iii) accounting, all stemming from CEI’s, The Allere Group’s, and

Ms. Comer’s termination of all relationships with Moshe Lehrer.

       132.   This Action is separate from and independent of the EDPA Action.

       H.     Rosa Lehrer’s and KMI’s Malicious Prosecution and Slander of Title.

       133.   Also in the midst of Avraham Lehrer’s campaign of terror, harassment and

blackmail of Ms. Comer, Rosa Lehrer (Moshe’s mother and Avraham’s wife) used the entity KMI

to maliciously prosecute two civil actions in separate Delaware courts against Ms. Comer. In

connection with one such action, Rosa Lehrer caused KMI to slander title to Ms. Comer’s personal

residence by unlawfully recording a lis pendens against Ms. Comer’s property in blatant

derogation of the black-and-white language of Delaware’s lis pendens statute.

              1.       The Superior Court Action and the Unlawful Lis Pendens

       134.   On November 10, 2020, Rosa Lehrer (Moshe Lehrer’s mother and Avraham

Lehrer’s wife) caused KMI to file a complaint in the Delaware Superior Court against Ms. Comer

for alleged breach of a personal guaranty. See KMI Group, Inc. v. Nicole Bolt Comer, Civil Action

No. N20C-11-086-JRJ (the “Superior Court Action”).

       135.   In reality, the Superior Court Action was nothing more than an attempt to harass

Ms. Comer and to frustrate the imminent sale of her home – which was scheduled to close on

December 10, 2020.

       136.   In connection with the Superior Court Action, Rosa Lehrer caused KMI to record

a lis pendens against Ms. Comer’s personal residence, 12 Autumnwood Drive, Newark, Delaware

(the “Lis Pendens”).

       137.   The Lis Pendens was the real reason for Rosa Lehrer causing KMI to commence

the Superior Court Action – by recording the Lis Pendens, Rosa Lehrer hoped to be able to create




                                             - 25 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 26
                                                         27 of
                                                            of 33
                                                               155PageID
                                                                   PageID#:#:2638




a cloud on title to Ms. Comer’s real property that would not be cured before the scheduled

December 10, 2020 closing.

       138.    Rosa Lehrer then caused KMI’s lawyers to contact the closing attorney and, at least,

one of the real estate agents involved in Ms. Comer’s closing and tell them that the Lis Pendens

would never be cleared before the sale and that they should postpone the sale.

       139.    On December 1, 2020, Ms. Comer filed an Emergency Motion for Mandatory

Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606 (the “Motion to Cancel Lis Pendens”).

A copy of the Motion to Cancel Lis Pendens is attached as Exhibit L. The Superior Court, Judge

Jurden, scheduled a hearing on the Motion to Cancel Lis Pendens for December 3, 2020 (the

“Emergency Hearing”).

       140.    After the attorneys that Rosa Lehrer hired for KMI reviewed the Motion to Cancel

Lis Pendens, they waited until the “11th hour” before the Emergency Hearing to inform Ms.

Comer’s counsel that KMI would release and cancel the Lis Pendens. KMI’s late notice to Ms.

Comer’s counsel resulted in KMI not informing the Court until an hour before the Emergency

Hearing that KMI would voluntarily release and cancel the Lis Pendens.

       141.    On December 7, 2020, Rosa Lehrer caused KMI to voluntarily dismiss the Superior

Court Action pursuant to Delaware Superior Court Rule 41(a)(1)(I).

       142.    In the end, the Court found that there was no good faith basis in the first place to

have recorded the Lis Pendens in such obvious violation of plainly stated Delaware statutory law.

That finding, coupled with KMI’s late notice to opposing counsel and the Court that it would

cancel the Lis Pendens (thereby obviating the need for an emergency hearing for which Judge

Jurden and her law clerk spent at least a full day preparing) caused the Court to issue a fee award




                                              - 26 -
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 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                           06/17/21 Page
                                                    Page 27
                                                         28 of
                                                            of 33
                                                               155PageID
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of $16,097 in favor of Ms. Comer for the fees and costs she incurred in connection with the

Superior Court Action.

       143.    A copy of the Superior Court (Judge Jurden) Order dated February 1, 2021

awarding Ms. Comer $16,097 in attorneys’ fees and costs for KMI’s unlawful recordation of the

Lis Pendens is attached as Exhibit M.

       144.    The fee award does not fully make Ms. Comer whole in connection with her defense

against the Superior Court Action.

       145.    The only reason Rosa Lehrer caused KMI to commence the Superior Court Action

was to manufacture a basis to record the Lis Pendens. In turn, the only reason for Rosa Lehrer to

cause KMI’s attorneys to record the Lis Pendens was to harass Ms. Comer and frustrate the sale

of her personal residence – all of which was intended to gain leverage over Ms. Comer.

       146.    Despite assertions by the attorneys Rosa Lehrer caused KMI to use for the Superior

Court Action that they were going to refile the Superior Court Action in the Superior Court, to the

best of Ms. Comer’s and undersigned counsel’s knowledge, information and belief, no such action

has ever been filed (or refiled).

               2.      The Chancery Court Action.

       147.    On December 4, 2020 (prior to dismissing the Superior Court Action), Rosa Lehrer

caused KMI to seek a second bite at the apple by commencing virtually the same action in the

Delaware Chancery Court, albeit dressed with claims that KMI’s attorneys apparently thought

would win the day in Chancery Court. See KMI Group, Inc. v. Nicole Bolt Comer, Civil Action

No. 2020-1033-JRS (the “Chancery Court Action”).




                                              - 27 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                           06/17/21 Page
                                                    Page 28
                                                         29 of
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       148.    Together with its complaint, verified by Rosa Lehrer, KMI filed a motion for a

temporary restraining order to stop the sale of Ms. Comer’s sale of her personal residence, then

scheduled to close the following week, on December 10, 2020.

       149.    The pleadings that Rosa Lehrer directed KMI’s attorneys to file in the Chancery

Court Action were filled with false statements concerning Ms. Comer’s character and financial

status, as well as specious legal arguments.

       150.    After oral argument on December 9, 2020, the Chancery Court, Vice Chancellor

Slights, summarily denied KMI’s request for a TRO and expedited proceedings. The transcript of

Vice Chancellor Slights’ oral opinion is attached as Exhibit N.

       151.    On January 7, 2021, Rosa Lehrer caused KMI’s attorneys to voluntarily dismiss the

Chancery Court Action pursuant to Chancer Court Rule 41(a)(1)(i).

       152.    The Chancery Court Action, like the Superior Court Action before it, was filed for

the sole purpose of harassing Ms. Comer and frustrating Ms. Comer’s home – in hopes of gaining

leverage in the EDPA Action. There was no good faith factual or legal basis whatsoever for the

commencement and prosecution of the Chancery Court Action. See Exhibit M.

                          COUNT I: PERMANENT INJUNCTION

         MS. COMER AGAINST MOSHE LEHRER AND AVRAHAM LEHRER

       153.    Each of the foregoing allegations is incorporated as though fully set forth herein.

       154.    Ms. Comer requires permanent injunctive relief to put a permanent stop to Moshe

Lehrer’s and Avraham Lehrer’s campaign of terror, harassment and blackmail against her.

       155.    Without the requested permanent injunction, Ms. Comer (and others) will

continue to be terrorized by Defendants’ unwanted and unlawful contacts with Ms. Comer, any




                                               - 28 -
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 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                           06/17/21 Page
                                                    Page 29
                                                         30 of
                                                            of 33
                                                               155PageID
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member of her family, CEI, The Allere Group and any employees, customers, clients, vendors or

known prospective clients or customers of CEI or The Allere Group.

       156.    No adequate remedy at law exists to rectify the harm that Ms. Comer will

continue to suffer without the issuance of the requested permanent injunction. Moreover, given

the nature and recent escalation of threats and violence associated with Moshe Lehrer and

Avraham Lehrer’s campaign of terror against her and those associated with her, a permanent

injunction is essential for Ms. Comer’s and her family’s safety

       157.    A permanent injunction will cause absolutely no harm whatsoever to Moshe

Lehrer and Avraham Lehrer. All that is asked is that Moshe Lehrer and Avraham Lehrer stop

contacting Ms. Comer and other individuals and entities that neither Moshe Lehrer nor Avraham

Lehrer have any reason to contact.

       158.    On the other hand, Ms. Comer, her family, friends and employees will continue to

be terrorized and, thus, severely and irreparably harmed if the requested permanent injunction is

not granted.

       159.    The public interest favors issuance of the requested permanent injunction –

namely to prevent emotional, mental and physical harm to citizens of the State of Delaware and

to prevent the acts complained of herein from occurring in the State of Delaware.

        COUNT II: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

         MS. COMER AGAINST AVRAHAM LEHRER AND MOSHE LEHRER

       160.    Each of the foregoing allegations is incorporated as though fully set forth herein.

       161.    As set forth herein, Avraham Lehrer and Moshe Lehrer have terrorized Ms. Comer

through a false police report, death threats, threatening voicemails to those in her orbit, and




                                              - 29 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                           06/17/21 Page
                                                    Page 30
                                                         31 of
                                                            of 33
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continual texts to her and those in her orbit – including an unknown quantity of business contacts

– regarding bogus allegations of sexual abuse.

       162.    Avraham Lehrer and Moshe Lehrer intentionally engaged in extreme or outrageous

conduct that caused Ms. Comer severe emotional distress.

       163.    Avraham Lehrer and Moshe Lehrer’s conduct described herein exceeds the bounds

of decency and is intolerable in a civilized community.

       164.    Ms. Comer has suffered damages, including severe emotional distress as the result

of Avraham Lehrer’s and Moshe Lehrer’s campaign of terror, harassment and blackmail.

       COUNT III: INVASION OF PRIVACY (INTRUSION UPON SECLUSION)

         MS. COMER AGAINST AVRAHAM LEHRER AND MOSHE LEHRER

       165.    Each of the foregoing allegations is incorporated as though fully set forth herein.

       166.    Through their campaign of terror against Ms. Comer, Avraham Lehrer and Moshe

Lehrer have intruded in Ms. Comer’s solitude, seclusion, private affairs or concerns.

       167.    Avraham Lehrer’s and Moshe Lehrer’s intrusions into Ms. Comer’s private affairs

and physical environment would be highly offensive to a reasonable person.

       168.    Ms. Comer has suffered damages as the result of Avraham Lehrer’s and Moshe

Lehrer’s intrusion upon Ms. Comer’s seclusion.

                        COUNT IV: MALICIOUS PROSECUTION

              MS. COMER AGAINST ROSA LEHRER AND KMI GROUP, INC.

       169.    Each of the foregoing allegations is incorporated as though fully set forth herein.

       170.    Rosa Lehrer caused KMI Group, Inc. to institute and continue the Superior Court

Action and the Chancery Court Action.




                                              - 30 -
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                     Filed 03/04/21
                                           06/17/21 Page
                                                    Page 31
                                                         32 of
                                                            of 33
                                                               155PageID
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       171.      KMI Group, Inc. (under Rosa Lehrer’s management) voluntarily dismissed both

the Superior Court Action and the Chancery Court Action after failing to frustrate Ms. Comer’s

sale of her real property.

       172.      Rosa Lehrer maliciously caused the Superior Court Action and the Chancery Court

Action to be instituted and continued.

       173.      There was no probable cause for the institution and continuation of the Superior

Court Action and the Chancery Court Action.

       174.      As a result of Rosa Lehrer’s malicious prosecution of the Superior Court Action

and the Chancery Court Action, Ms. Comer has suffered damages.

                                COUNT V: SLANDER OF TITLE

            MS. COMER AGAINST ROSA LEHRER AND KMI GROUP, INC.

       175.      Each of the foregoing allegations is incorporated as though fully set forth herein.

       176.      Rosa Lehrer caused KMI Group, Inc. to record the Lis Pendens against Ms.

Comer’s real property in the New Castle County office of the Recorder of Deeds.

       177.      KMI Group’s recordation of the Lis Pendens against Ms. Comer’s real property

was malicious.

       178.      The Lis Pendens presented false information concerning the state of title to Ms.

Comer’s real property.

       179.      As the result of Rosa Lehrer’s actions in causing KMI Group, Inc. to maliciously

and publicly record the Lis Pendens against Ms. Comer’s real property, Ms. Comer has suffered

special damages in the form of pecuniary loss.




                                                - 31 -
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 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
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                                           06/17/21 Page
                                                    Page 32
                                                         33 of
                                                            of 33
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       WHEREFORE, Ms. Comer respectfully requests that the Court enter judgment in Ms.

Comer’s favor:

               a)     permanently enjoining Moshe Lehrer and Avraham Lehrer from having any

contact whatsoever with Ms. Comer, any member of her family, CEI, The Allere Group, or any

employees of CEI or The Allere Group;

               b)     awarding Ms. Comer damages arising out of or related to Avraham Lehrer’s

and Moshe Lehrer’s intentional infliction of emotional distress and/or invasion of Ms. Comer’s

privacy;

               c)     awarding Ms. Comer damages arising out of or related to Rosa Lehrer’s and

KMI’s malicious prosecution of the Superior Court Action and the Chancery Court Action and

their slander of title to Ms. Comer’s former personal residence;

               d)     awarding Ms. Comer injunctive relief;

               e)     awarding Ms. Comer punitive damages;

               f)     ordering Defendants to pay Ms. Comer’s attorneys’ fees and costs; and

               g)     awarding Ms. Comer such other and further relief as is just and proper.


                                       JURY DEMAND

                     Ms. Comer demands a jury on all claims triable by jury.




                                              - 32 -
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 Case1:21-cv-00863-CFC
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                                           06/17/21 Page
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Dated: March 4, 2021                 Respectfully submitted,

                                     REED SMITH LLP

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                                     Mark W. Eckard (No. 4542)
                                     Nicholas R. Rodriguez (No. 6196)
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                                     Facsimile: (302) 778-7575
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                                     Email: nrodriguez@reedsmith.com

                                     Counsel to Nicole Bolt Comer




                                      - 33 -
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                                                       Page351of
                                                               of155
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                         Exhibit A
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 Case1:21-cv-00863-CFC
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From: max lehar
Sent: Wednesday, October 24, 2018 12:36 PM
To: Nicole Bolt Comer
Subject: Trying to reach you

Hey,
This is Max from Shield Funding. We see that you applied for some funding on our website and I have been trying to
reach you.
If you can kindly call me back at your earliest convenience so that we can get you get you funded promptly.
Additionally, I am attaching our application. Please fill it out and send it back together with the last 4 months of your
business banking statements to expedite the process.
If you have any questions, call me at any time.
Looking forward in working with you.



‐‐
Max Lear


(347)977‐6757
Shield Funding




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                        Exhibit E
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 Delaware.gov | Text Only                                                                               Governor | General Assembly | Courts | Elected Officials | State Agencies



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                               CAUTION: The warrants available in this database consist of warrants issued by the courts of
                               Delaware. Recent changes in the status of the warrants may not be reflected in this online database.
                               Do not attempt to make an arrest based on this warrant information. Only law enforcement officers
                               can arrest a person for an outstanding warrant.
  Your Search...                                                                                            Phone Numbers       Mobile      Help        Size     Print     Email
                               If you need to contact the police about anyone listed on this site please call their non-emergency
                               numbers.
                               View Non-Emergency Police Phone Numbers

                               If you have information which may lead to the arrest of individuals named in these warrants, you may
                               submit your tip online by clicking the crime stopper link above or by calling 800-847-3333.

                               E-mail this office - Send E-mail, call 866-751-5327 or mailing your information to Delaware Criminal
                                            Delaware Criminal Justice                                 New Delaware
                               Justice Information System, 802 Silver Lake Boulevard, Suite 101, Dover,    Search 19904.
    Full Name: LEHRER, AVRAHAM H
                                            Information System                                                                             Click to Submit a Tip to Crime
                                       Online Wanted Person Review                                                                         Stoppers

      Last Name: First Name: Initial:                                                                                                      View Homeland Security
                                                Other Names Used: 1
      Lehrer        Avraham      H                                                                                                         Investigations Most Wanted
   Total Search Results: 1 (Max 300)            Last Name First Name MI Suffix Sex Race DOB
      Birth Date: Race:          Sex:           Lehrer     Avraham H           Male White 1974-08
                    Last Name                     First Name                 MI     Suffix                        Birth Date                    Race             Sex
      1974-08       White        Male
   Select           Lehrer                        Avraham                    H                                    1974-08                       White            Male
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       Warrant Number DUC Number Court                                         Comments
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                         Exhibit J
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                                               Case No. N20C-11-086 JRJ
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

KMI GROUP, INC.,            )
                            )
                 Plaintiff, )
                            )
         v.                 )            C.A. No. N20C-11-086 JRJ
                            )
NICOLE BOLT COMER,          )
                            )
                 Defendant. )


 EMERGENCY MOTION FOR MANDATORY CANCELLATION OF LIS
          PENDENS PURSUANT TO 25 Del. C. § 1606


Dated: December 1, 2020                  REED SMITH LLP
                                         Brian M. Rostocki (No. 4599)
                                         Mark W. Eckard (No. 4542)
                                         1201 North Market Street, Suite 1500
                                         Wilmington, DE 19801
                                         Telephone: (302) 778-7500
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                                         Counsel for Defendant
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      Defendant Nicole Bolt Comer files this Emergency Motion for Mandatory

Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606.

I.    PRELIMINARY STATEMENT

      1.       This action has nothing to do with real property. Plaintiff’s complaint

(the “Complaint”) states one cause of action, seeking money damages. To harass

and frustrate Defendant’s imminent closing on the sale of her home – scheduled for

December 10, 2020 – Plaintiff recorded a lis pendens (the “Lis Pendens”) against

Defendant’s real property located at 12 Autumnwood Drive in Newark (the

“Property”).

      2.       The Lis Pendens states that it was recorded because “Defendant may

own or have an interest in certain real property subject to judgment and execution.”

A copy of the Lis Pendens is attached as Exhibit A. The Complaint alleges, “upon

information and belief,” that Defendant is attempting to “fraudulently transfer

assets” to frustrate Plaintiff’s ability to collect on a judgment. But there is no

judgment and Plaintiff’s fraudulent transfer theory is devoid of any factual support.

Moreover, such an allegation does not allow a plaintiff seeking money damages to

record a lis pendens.

      3.       Under 25 Del. C. § 1606, the Lis Pendens must be canceled because

(i) there is no claim relating to real estate in this Action and (ii) the claim that is

pleaded, if sustained, would entitle Plaintiff solely to recover money damages.



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II.   BACKGROUND

      4.     The Complaint alleges one claim for “Breach of Personal Guaranty”

and concerns Plaintiff’s allegation that Defendant breached her alleged personal

guarantee related to a “Future Receivables Sale and Purchase Agreement” (the

“Agreement”). In its prayer for relief, Plaintiff requests judgment:

      A.   Awarding KMI damages for Comer’s breach of the Guaranty in
      an amount not less than $184,819.00;

      B.     Awarding KMI its costs and expenses, including reasonable
      attorneys’ fees incurred in this action; and

      C.    Granting such other and further relief that this Court deems just
      and proper.

      5.     The Complaint alleges, “upon information and belief” – without any

factual support or reciting the elements for such a claim – that Defendant “has begun

to engage in a scheme to fraudulently transfer assets out of her name in an effort to

frustrate [Plaintiff’s] ability to enforce the obligations owed under the Guaranty.”

See Compl. ¶ 26; see also id. ¶¶ 27-29.

      6.     Defendant is scheduled to close on the sale of the Property on

December 10, 2020. A copy of Defendant’s contract of sale and a later-negotiated

repair addendum are attached as Exhibit B. Defendant has never met the Buyers.

The purchase price for the Property is $735,000.00, which was negotiated at arms-

length through real estate agents.




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       7.    Also on December 10, 2020, Defendant is scheduled to close on her

purchase of a new home within the State of Delaware. Defendant is happy to provide

a copy of the contract for her purchase of her new home to the Court, in camera,

without the principals of Plaintiff learning her new address and further unlawfully

harassing her by attempting to do something to frustrate that sale.

       8.    Prior to filing this Motion, Defendant (through counsel) contacted

Plaintiff (through counsel) and requested that the Lis Pendens be canceled.

Defendant provided Plaintiff information concerning Defendant’s sale of the

Property, including the contract for the sale. Defendant asked for a response by the

end of the day on Friday November 27, 2020 as to whether Plaintiff would remove

the Lis Pendens. The Lis Pendens has not been removed.

III.   ARGUMENT

       A.    A Claim Must Touch Upon the Land to Record a Lis Pendens.

       9.    25 Del. C. § 1601 states:

       (a) In any action instituted in any court of this State having civil
       jurisdiction or in the United States District Court for the District of
       Delaware, any party asserting a claim, the object of which is to affect
       the title to, or enforce an equitable lien on, real estate may, after filing
       of such claim, file in the office of the recorder of deeds of any county
       in which all or any part of the affected real estate is situate a written
       notice of the pendency of the action . . .

       (b) No notice of pendency shall be filed under this chapter:

              (1) On a claim relating to real estate which, if sustained, would
       entitle the party to recovery solely of money or money damages.

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       10.    25 Del. C. § 1601, et seq. (the “Lis Pendens Statute”) was “intended to

codify in clear terms the protections to be afforded to real property owners against

unscrupulous plaintiffs, who might misuse the lis pendens doctrine and cause

irreparable harm to legitimate titleholders.” See DiSabatino v. Salicete, 695 A.2d

1118, 1120 (Del. 1997). The Lis Pendens Statute provides that the Court “shall

direct any recorder of deeds to cancel a [lis pendens] . . . if: . . . (3) The claim relating

to the real estate is one which, if sustained, would entitle the party solely to recover

money or money damages.” 25 Del. C. § 1606. Unlawful recordation of a lis

pendens is not taken lightly. “In an order either upholding a notice of pendency or

canceling a notice of pendency, the court may, for good cause shown, and in the

interest of justice, direct a party to pay the prevailing party’s damages, if any,

together with the court costs of the action.” 25 Del. C. § 1611.

       B.     The Lis Pendens Must Be Canceled because this Action Has No
              Relation to the Property.

       11.    The Lis Pendens violates the first requirement of the Lis Pendens

Statute: that the “object” of the claim must be “to affect the title to, or enforce an

equitable lien on, real estate.” 25 Del. C. § 1601(a). Here, Plaintiff seeks only

money damages for an alleged breach of a personal guaranty that has no relation to

the Property. For this reason alone, the Lis Pendens must be canceled.




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      12.    The Lis Pendens violates the express prohibition on recordation of a lis

pendens in connection with a “claim relating to real estate which, if sustained, would

entitle the party to recovery solely of money or money damages.” 25 Del. C. §

1601(b). Here, the claim pleaded by Plaintiff is one that would, if victorious, entitle

Plaintiff to recovery “solely of money.” Id. Plaintiff’s prayer for relief makes this

point abundantly clear by solely seeking recovery of money. See Compl. at p. 7

(asking the Court to award “damages for Comer’s breach of the Guaranty in an

amount not less than $184,819.00.”).

      C.     Plaintiff’s Basis for Recording the Lis Pendens is Meritless.

      13.    Plaintiff’s purported “upon information and belief” basis for recording

the Lis Pendens is factually unsupportable. Defendant’s transaction of the sale of

the Property (her private home) is not fraudulent. Defendant has never met the

buyers. The transaction was negotiated through real estate agents. The purchase

price for the Property is well within the range of reasonable for the Property.

      14.    The basis for recording the Lis Pendens, as stated on the face of the Lis

Pendens, is unlawful. See Lis Pendens ¶ 3 (“The Action additionally alleges that the

Defendant may own or have an interest in certain real property subject to judgment

and execution by reason of the Action.”). In addition to being a naked attempt at

unconstitutional pre-judgment attachment, see Connecticut v. Doehr, 501 U.S. 1, 13-




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14 (1991), Plaintiff does not even attempt to state any of the elements of a cause of

action for fraudulent transfer.

      E.     Defendant Should be Awarded Her Damages, Attorneys’ Fees and
             Costs in Connection with this Motion.

      15.    Pursuant to 25 Del. C. § 1611, Plaintiff must be directed to pay

Defendant’s damages, together with her attorneys’ fees and costs, incurred in

connection with this Motion. At Defendant’s instruction, undersigned counsel

explained to Plaintiff’s counsel the unlawfulness of the Lis Pendens and provided

information necessary to assuage any concern that Defendant’s sale of her Property

is an attempted fraudulent transfer. A central tenet of the Lis Pendens Statute is to

protect defendants from unscrupulous litigants such as Plaintiff recording unlawful

lis pendens for unscrupulous purposes. See DiSabatino, 695 A.2d at 1120. It would

be unfair to not require Plaintiff to pay for the damages it caused by its unlawful

basis for recording the Lis Pendens.

      WHEREFORE, Defendant requests that the Court enter an Order:

(i) directing the New Castle County Recorder, pursuant to 25 Del. C. § 1606, to

cancel the Lis Pendens of record and mark the indices accordingly; (ii) directing

Plaintiff, pursuant to 25 Del. C. § 1611 to pay damages suffered by Defendant

resulting from the recordation of the Lis Pendens, including her attorneys’ fees and

costs incurred in connection with this Motion; and (iii) granting to Defendant such

other and further relief as is just and proper.

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Dated: December 1, 2020                   Respectfully submitted,

                                          REED SMITH LLP

                                          /s Mark W. Eckard
                                          Brian M. Rostocki (No. 4599)
                                          Mark W. Eckard (No. 4542)
                                          1201 North Market Street, Suite 1500
                                          Wilmington, DE 19801
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                                          Counsel for Defendant




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           X                                                       %* % ("+                                         "$ %+-$-%+ 5%1+6
                " %)&"'$%                                   X    "$ %%) =+$< "+                                    "$ %+-$-%+ 5*"6
                "$ -*$                                           -+%1 "+56 /                                          * $%"# "+456 5%1+6
           X    "$ "$                                     X    -*-+# "+56 /                                         * $%"# "+456 5*"6
           X    )& )&                                             +$"* ="')                                         '-$< %+-$%-+# $) 5%1+6
                $%) %%                                            1-$ $$"' )+$                         X    '-$< %+-$%-+# $) 5*"6
           X    '+ 51  &+$6                               +$'%)                                              %*" A-&)+$ 5%1+6
                                                                                "$**-$ -                                           %*" A-&)+$ 5*"6
                                                                                1-$ %+$%* ? )%$56
               5%$ &,-%* ' '46
          5&'-(6 Wine refrigerator, plantation shutters


                                                                              **9 +-$-"*                                           9 +-$-"*
          C%&-# $ DEEF>DEF ! *"1" %'-"$-%+ %(  G2 ** -# $ ,2 ,- "' H0 DEF2  - (%) " !+ '"$ :'*-,* (% $   %( $  "%'-"$-%+ ))!
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          %&-# $ *"12
    Weichert REALTORS - Pike Creek, 4760 Limestone Road Wilmington DE 19808                                                       %+ 302-584-7886           ": 302-992-9815           12 Autumnwood
    Debra Coe                                %' 1-$ %+ %*( "+"'$-%+ 5B-& %) -$-%+6 DI  "%+ 2 ")!-#0 +$"-%0 "+""  J8 1112*1%*(2'%)
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               Case 1:21-cv-00334-UNA
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           .  5%$ &,-%* ' '46
        5&'-(6



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        & %( (-+"+'-+#                   Conventional                                                             %"+ )%+$ 435,000.00
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        November 30, 2020
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        $) %( $ - #)+$2 (  "$ $ "$ $-) '*"-) $ "$ $  )%$#"# "&&*-'"$-%+ *$ -+ " +-"* %( $ "$ "&&*-'"$-%+0 
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        *%"+ '%$0 5'6 $  %"+ $-)"$ 5"+ "+ ,--%+60 56 '%))-$)+$ "#)+$0 "+ 56 *%-+# -'*% 5"+ "+
        ,--%+62  "$ %-B $$*)+$ "$$%+ $%  " $  $$*)+$ $"$)+$ 5-( "+6 1-$ $  ** "+ "* $"$
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        "#+$2 ( "40   "** &%,- $  "!%, )+$-%+ %')+$ -'$* $% $  "* $"$ "#+$ "+ $$*)+$ "$$%+
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        %+              December 10, 2020                    0 % !(% -( )$"** "# &%+0 "$ 1 -' $-) &%-%+  "**
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                                                                     Page88
                                                                          19ofof155
                                                                                 37 PageID #: 99
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        2                                                             Kathy Eddins                                                            0 -#+"$ -$-+# #+$
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        2                                              Weichert Realtors Pike Creek                                                        0 **-+# %4
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        =2                                                               Debra Coe                                                           0 -#+"$ **-+# #+$
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             Yes        "%+ -'*% %)0 +* :)&$ ! $"$ *"1 5"-$-%+"* (%) A-6
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                         )+"$% "+#"# "+  # $ % &   ' (  5"-$-%+"* (%) A-6
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                                                                          Property to appraise at purchase price.




                                                                                 **9 +-$-"*                                                 9 +-$-"*
        C%&-# $ DEEF>DEF ! *"1" %'-"$-%+ %(  G2 ** -# $ ,2 ,- "' H0 DEF2  - (%) " !+ '"$ :'*-,* (% $   %( $  "%'-"$-%+ ))!
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        %&-# $ *"12
        %' 1-$ %+ %*( "+"'$-%+ 5B-& %) -$-%+6 DI  "%+ 2 ")!-#0   +$"-%0 "+""  J8 1112*1%*(2'%)    12 Autumnwood
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      
                                     
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         Kathy Eddins                                                   Debra Coe
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         eddinshanna@psre.com                                           debracoe@comcast.net
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         (302)893-4373                                                  (302)584-7886
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Certificate Of Completion
Envelope Id: 8D14CCC113594249BFD21845E6171385                                             Status: Completed
Subject: Please DocuSign: contract 12 Autumnwood.pdf
Source Envelope:
Document Pages: 9                                Signatures: 1                            Envelope Originator:
Certificate Pages: 5                             Initials: 17                             Kathy Eddins
AutoNav: Enabled                                                                          7234 Lancaster Pike
EnvelopeId Stamping: Enabled                                                              Hockessin, DE 19707
Time Zone: (UTC-05:00) Eastern Time (US & Canada)                                         keddins@psre.com
                                                                                          IP Address: 76.99.200.170

Record Tracking
Status: Original                                 Holder: Kathy Eddins                     Location: DocuSign
        11/3/2020 3:19:48 PM                              keddins@psre.com

Signer Events                                    Signature                                Timestamp
Marc Comer                                                                                Sent: 11/3/2020 3:25:44 PM
marc.comer@gmail.com                                                                      Viewed: 11/3/2020 5:37:13 PM
Security Level: Email, Account Authentication                                             Signed: 11/3/2020 5:38:05 PM
(None)
                                                 Signature Adoption: Pre-selected Style
                                                 Using IP Address: 108.52.137.82


Electronic Record and Signature Disclosure:
   Accepted: 10/22/2020 1:16:05 PM
   ID: c73f39ab-810a-40ba-9d06-d950e9f63065

Nicole Comer                                                                              Sent: 11/3/2020 3:25:44 PM
nbolt16@icloud.com                                                                        Viewed: 11/3/2020 3:29:13 PM
Security Level: Email, Account Authentication                                             Signed: 11/3/2020 3:29:55 PM
(None)
                                                 Signature Adoption: Drawn on Device
                                                 Using IP Address: 107.77.203.50
                                                 Signed using mobile
Electronic Record and Signature Disclosure:
   Accepted: 11/3/2020 3:29:13 PM
   ID: 1578b093-520b-40cb-8363-5f82d35188cc


In Person Signer Events                          Signature                                Timestamp

Editor Delivery Events                           Status                                   Timestamp

Agent Delivery Events                            Status                                   Timestamp

Intermediary Delivery Events                     Status                                   Timestamp

Certified Delivery Events                        Status                                   Timestamp

Carbon Copy Events                               Status                                   Timestamp

Witness Events                                   Signature                                Timestamp

Notary Events                                    Signature                                Timestamp

Envelope Summary Events                          Status                                   Timestamps
Envelope Sent                                    Hashed/Encrypted                         11/3/2020 3:25:44 PM
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Envelope Summary Events              Status                       Timestamps
Certified Delivered                  Security Checked             11/3/2020 3:29:13 PM
Signing Complete                     Security Checked             11/3/2020 3:29:55 PM
Completed                            Security Checked             11/3/2020 5:38:05 PM

Payment Events                       Status                       Timestamps
Electronic Record and Signature Disclosure
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            CONSUMER DISCLOSURE
            From time to time, Patterson-Schwartz Real Estate (we, us or Company) may be required by law
            to provide to you certain written notices or disclosures. Described below are the terms and
            conditions for providing to you such notices and disclosures electronically through the
            DocuSign, Inc. (DocuSign) electronic signing system. Please read the information below
            carefully and thoroughly, and if you can access this information electronically to your
            satisfaction and agree to these terms and conditions, please confirm your agreement by clicking
            the â€˜I agreeâ€™ button at the bottom of this document.
            Getting paper copies
            At any time, you may request from us a paper copy of any record provided or made available
            electronically to you by us. You will have the ability to download and print documents we send
            to you through the DocuSign system during and immediately after signing session and, if you
            elect to create a DocuSign signer account, you may access them for a limited period of time
            (usually 30 days) after such documents are first sent to you. After such time, if you wish for us to
            send you paper copies of any such documents from our office to you, you will be charged a
            $0.00 per-page fee. You may request delivery of such paper copies from us by following the
            procedure described below.
            Withdrawing your consent
            If you decide to receive notices and disclosures from us electronically, you may at any time
            change your mind and tell us that thereafter you want to receive required notices and disclosures
            only in paper format. How you must inform us of your decision to receive future notices and
            disclosure in paper format and withdraw your consent to receive notices and disclosures
            electronically is described below.
            Consequences of changing your mind
            If you elect to receive required notices and disclosures only in paper format, it will slow the
            speed at which we can complete certain steps in transactions with you and delivering services to
            you because we will need first to send the required notices or disclosures to you in paper format,
            and then wait until we receive back from you your acknowledgment of your receipt of such
            paper notices or disclosures. To indicate to us that you are changing your mind, you must
            withdraw your consent using the DocuSign â€˜Withdraw Consentâ€™ form on the signing page
            of a DocuSign envelope instead of signing it. This will indicate to us that you have withdrawn
            your consent to receive required notices and disclosures electronically from us and you will no
            longer be able to use the DocuSign system to receive required notices and consents electronically
            from us or to sign electronically documents from us.
            All notices and disclosures will be sent to you electronically
            Unless you tell us otherwise in accordance with the procedures described herein, we will provide
            electronically to you through the DocuSign system all required notices, disclosures,
            authorizations, acknowledgements, and other documents that are required to be provided or
            made available to you during the course of our relationship with you. To reduce the chance of
            you inadvertently not receiving any notice or disclosure, we prefer to provide all of the required
            notices and disclosures to you by the same method and to the same address that you have given
            us. Thus, you can receive all the disclosures and notices electronically or in paper format through
            the paper mail delivery system. If you do not agree with this process, please let us know as
            described below. Please also see the paragraph immediately above that describes the
            consequences of your electing not to receive delivery of the notices and disclosures
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electronically from us.
How to contact Patterson-Schwartz Real Estate:
You may contact us to let us know of your changes as to how we may contact you electronically,
to request paper copies of certain information from us, and to withdraw your prior consent to
receive notices and disclosures electronically as follows:
 To contact us by email send messages to: skennedy@psre.com

To advise Patterson-Schwartz Real Estate of your new e-mail address
To let us know of a change in your e-mail address where we should send notices and disclosures
electronically to you, you must send an email message to us at skennedy@psre.com and in the
body of such request you must state: your previous e-mail address, your new e-mail address. We
do not require any other information from you to change your email address..
In addition, you must notify DocuSign, Inc. to arrange for your new email address to be reflected
in your DocuSign account by following the process for changing e-mail in the DocuSign system.
To request paper copies from Patterson-Schwartz Real Estate
To request delivery from us of paper copies of the notices and disclosures previously provided
by us to you electronically, you must send us an e-mail to skennedy@psre.com and in the body
of such request you must state your e-mail address, full name, US Postal address, and telephone
number. We will bill you for any fees at that time, if any.
To withdraw your consent with Patterson-Schwartz Real Estate
To inform us that you no longer want to receive future notices and disclosures in electronic
format you may:
       i. decline to sign a document from within your DocuSign session, and on the subsequent
       page, select the check-box indicating you wish to withdraw your consent, or you may;
       ii. send us an e-mail to skennedy@psre.com and in the body of such request you must state
       your e-mail, full name, US Postal Address, and telephone number. We do not need any
       other information from you to withdraw consent.. The consequences of your withdrawing
       consent for online documents will be that transactions may take a longer time to process..

Required hardware and software
Operating Systems:                               WindowsÂ® 2000, WindowsÂ® XP, Windows
                                                 VistaÂ®; Mac OSÂ® X
 Browsers:                                       Final release versions of Internet ExplorerÂ®
                                                 6.0 or above (Windows only); Mozilla Firefox
                                                 2.0 or above (Windows and Mac); Safariâ„¢
                                                 3.0 or above (Mac only)
 PDF Reader:                                     AcrobatÂ® or similar software may be required
                                                 to view and print PDF files
 Screen Resolution:                              800 x 600 minimum
 Enabled Security Settings:                      Allow per session cookies

** These minimum requirements are subject to change. If these requirements change, you will be
asked to re-accept the disclosure. Pre-release (e.g. beta) versions of operating systems and
browsers are not supported.
Acknowledging your access and consent to receive materials electronically
To confirm to us that you can access this information electronically, which will be similar to
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other electronic notices and disclosures that we will provide to you, please verify that you were
able to read this electronic disclosure and that you also were able to print on paper or
electronically save this page for your future reference and access or that you were able to e-mail
this disclosure and consent to an address where you will be able to print on paper or save it for
your future reference and access. Further, if you consent to receiving notices and disclosures
exclusively in electronic format on the terms and conditions described above, please let us know
by clicking the â€˜I agreeâ€™ button below.
By checking the â€˜I agreeâ€™ box, I confirm that:

  •   I can access and read this Electronic CONSENT TO ELECTRONIC RECEIPT OF
      ELECTRONIC CONSUMER DISCLOSURES document; and

  •   I can print on paper the disclosure or save or send the disclosure to a place where I can
      print it, for future reference and access; and

  •   Until or unless I notify Patterson-Schwartz Real Estate as described above, I consent to
      receive from exclusively through electronic means all notices, disclosures, authorizations,
      acknowledgements, and other documents that are required to be provided or made
      available to me by Patterson-Schwartz Real Estate during the course of my relationship
      with you.
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     Dudley M Comer, Nicole Comer

             Brian Balzer, Tsai-Yuan Liu

                             12 Autumnwood Dr, Newark, DE 19711-2400

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    As sighted in the home inspection, Sellers shall have certified licensed contractor(s) repair,
    replace and or make remedy the following:

    Plumbing:1. Replace deteriorated vent collar - see page 22
               2. Correct improperly installed drain under kitchen sink - see page 22
               3. Evaluate and repair source of Sewage Odor at the injector pump area for possible
    leak or improper venting and install a failure to function alarm on pump - pg 22
               4. Repair leaking faucet handle in master bathroom. - see page 23
               5. Secure loose toilet in Hall Bath

    6. Secure loose siding at upper right gable - see page 21


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             Tsai-Yuan Liu

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         Dudley M Comer

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         Nicole Comer                                                                                                                                                     

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    Weichert REALTORS - Pike Creek, 4760 Limestone Road Wilmington DE 19808                                              " 302-584-7886       34 302-992-9815       12 Autumnwood
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Subject: Please DocuSign: Autumnwood repair adden.pdf
Source Envelope:
Document Pages: 1                               Signatures: 2                            Envelope Originator:
Certificate Pages: 5                            Initials: 0                              Kathy Eddins
AutoNav: Enabled                                                                         7234 Lancaster Pike
EnvelopeId Stamping: Enabled                                                             Hockessin, DE 19707
Time Zone: (UTC-05:00) Eastern Time (US & Canada)                                        keddins@psre.com
                                                                                         IP Address: 76.99.200.170

Record Tracking
Status: Original                                Holder: Kathy Eddins                     Location: DocuSign
        11/17/2020 8:55:49 AM                             keddins@psre.com

Signer Events                                   Signature                                Timestamp
Marc Comer                                                                               Sent: 11/17/2020 8:59:17 AM
marc.comer@gmail.com                                                                     Viewed: 11/17/2020 10:37:37 AM
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   Accepted: 10/22/2020 1:16:05 PM
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Nicole Comer                                                                             Sent: 11/17/2020 8:59:16 AM
nbolt16@icloud.com                                                                       Viewed: 11/17/2020 11:07:07 AM
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Editor Delivery Events                          Status                                   Timestamp

Agent Delivery Events                           Status                                   Timestamp

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        your e-mail, full name, US Postal Address, and telephone number. We do not need any
        other information from you to withdraw consent.. The consequences of your withdrawing
        consent for online documents will be that transactions may take a longer time to process..

 Required hardware and software
 Operating Systems:                               WindowsÂ® 2000, WindowsÂ® XP, Windows
                                                  VistaÂ®; Mac OSÂ® X
 Browsers:                                        Final release versions of Internet ExplorerÂ®
                                                  6.0 or above (Windows only); Mozilla Firefox
                                                  2.0 or above (Windows and Mac); Safariâ„¢
                                                  3.0 or above (Mac only)
 PDF Reader:                                      AcrobatÂ® or similar software may be required
                                                  to view and print PDF files
 Screen Resolution:                               800 x 600 minimum
 Enabled Security Settings:                       Allow per session cookies

 ** These minimum requirements are subject to change. If these requirements change, you will be
 asked to re-accept the disclosure. Pre-release (e.g. beta) versions of operating systems and
 browsers are not supported.
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 able to read this electronic disclosure and that you also were able to print on paper or
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                                                    Transaction ID 66149332
                                                    Case No. N20C-11-086 JRJ
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 KMI GROUP, INC.,            )
                             )
                  Plaintiff, )
                             )
          v.                 )                C.A. No. N20C-11-086 JRJ
                             )
 NICOLE BOLT COMER,          )
                             )
                  Defendant. )

                              NOTICE OF MOTION

       PLEASE TAKE NOTICE that Defendant’s Emergency Motion for

 Mandatory Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606 will be

 presented at the convenience of the Court.



 Dated: December 1, 2020                      REED SMITH LLP

                                              /s/ Mark W. Eckard
                                              Brian M. Rostocki (No. 4599)
                                              Mark W. Eckard (No. 4542)
                                              1201 North Market Street, Suite 1500
                                              Wilmington, DE 19801
                                              Telephone: (302) 778-7500
                                              Facsimile: (302) 778-7575

                                              Counsel for Defendant
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                                                     Case No. N20C-11-086 JRJ
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 KMI GROUP, INC.,            )
                             )
                  Plaintiff, )
                             )
          v.                 )                C.A. No. N20C-11-086 JRJ
                             )
 NICOLE BOLT COMER,          )
                             )
                  Defendant. )

                              [PROPOSED] ORDER

       Upon consideration of Defendant’s Emergency Motion for Mandatory

 Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606 (the “Motion”), and any

 response thereto,

       IT IS HEREBY ORDERED, this ___ day of _____________ 2020, that the

 Motion is GRANTED and:

       1.     New Castle County Recorder, pursuant to 25 Del. C. § 1606, shall

 cancel the Lis Pendens of record and mark the indices accordingly; and

       2.     Plaintiff, pursuant to 25 Del. C. § 1611 shall pay damages suffered by

 Defendant resulting from the recordation of the Lis Pendens, including her attorneys’

 fees and costs incurred in connection with this Motion.




                                        The Honorable Jan R. Jurden
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                                                    Case No. N20C-11-086 JRJ
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 KMI GROUP, INC.,            )
                             )
                  Plaintiff, )
                             )
          v.                 )                C.A. No. N20C-11-086 JRJ
                             )
 NICOLE BOLT COMER,          )
                             )
                  Defendant. )

                          CERTIFICATE OF SERVICE

       I, Mark W. Eckard, hereby certify that on this 1st day of December 2020, I

 caused a true and correct copy of (i) Defendant’s Emergency Motion for Mandatory

 Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606 (including Notice and

 Proposed Order), (ii) Exhibits A and B to Defendant’s Emergency Motion for

 Mandatory Cancellation of Lis Pendens Pursuant to 25 Del. C. § 1606, and (iii)

 this Certificate of Service to be served on the following counsel of record via File

 & ServeXpress:


                                Paul D. Brown
                               Tayler D. Bolton
                   CHIPMAN BROWN CICERO & COLE, LLP
                                Hercules Plaza
                      1313 North Market Street, Suite 5400
                         Wilmington, Delaware 19801
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 Dated: December 1, 2020                  REED SMITH LLP

                                          /s/ Mark W. Eckard
                                          Brian M. Rostocki (No. 4599)
                                          Mark W. Eckard (No. 4542)
                                          1201 North Market Street, Suite 1500
                                          Wilmington, DE 19801
                                          Telephone: (302) 778-7500
                                          Facsimile: (302) 778-7575

                                          Counsel for Defendant
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         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 KMI GROUP, INC.,                          )
                                           )
         Plaintiff,                        )
                                           )
         v.                                )         C.A. No. N20C-11-086 JRJ
                                           )
 NICOLE BOLT COMER,                        )
                                           )
         Defendant.                        )

                           Date Submitted:     December 1, 2020
                           Date Decided:       February 1, 2021

                                      ORDER

         Upon consideration of Defendant’s request that the Court award attorneys’

 fees and costs in connection with Defendant’s Motion for Mandatory Cancellation

 of Lis Pendens pursuant to 25 Del. C. § 1611, IT APPEARS THAT:

         1. On December 1, 2020, Defendant filed an Emergency Motion for

 Mandatory Cancellation of Lis Pendens1 (“Motion”) pursuant to 25 Del. C. § 1606,

 requested an emergency hearing on the Motion,2 and asked that Plaintiff be directed

 to pay Defendant’s attorneys’ fees and costs incurred in connection with the Motion.3

         2.   The lis pendens at issue was recorded against Defendant’s personal

 residence in connection with Plaintiff’s complaint (“Complaint”), which asserts one


 1
   D.I. 5.
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   D.I. 6.
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   D.I. 5 ¶ 15.
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 claim for money damages arising out of an alleged breach of a personal guaranty not

 involving the Defendant’s residence.4

        3. Before filing the Motion, Defendant contacted Plaintiff’s counsel and

 requested the lis pendens be canceled and offered various assurances to show the

 sale of her home was unrelated to the alleged breach of personal guaranty pled in the

 Complaint.     The Defendant also provided a copy of the contract for sale of

 Defendant’s residence.     5
                                When Plaintiff failed to cancel, Defendant moved for

 mandatory cancellation of the lis pendens pursuant to 25 Del. C. § 1606. Section

 1606 mandates cancellation when the claim asserted, if sustained, “would entitle the

 party solely to recover money or money damages.”6

        4.     The Court scheduled an emergency hearing via teleconference on

 Defendant’s Motion for December 3, 2020. One hour before the hearing, Plaintiff’s

 counsel wrote to inform the Court that Plaintiff agreed to file a notice of cancellation

 of the lis pendens with the Recorder of Deeds, and as such, the emergency hearing

 was no longer necessary.7




 4
   D.I. 1. Plaintiff alleged Defendant was attempting to fraudulently transfer assets to avoid a
 judgment collection in this action by selling her personal residence. D.I. 5 ¶ 2.
 5
   D.I. 5 ¶ 7.
 6
   25 Del. C. § 1606(3).
 7
   D.I. 7.
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        5. The Court instructed the parties that the scheduled teleconference would

 go forward. Following discussion with the parties, the Court instructed Plaintiff’s

 counsel to submit a letter explaining why it was appropriate to record the lis pendens

 and why attorneys’ fees should not be assessed,8 and instructed Defendant to submit

 an affidavit setting forth the fees and costs she incurred in connection with the

 Motion.9

        6. As Defendant correctly notes in her Motion, the lis pendens recorded in

 this action was improper under the statute because it was recorded on a property with

 no relation to Plaintiff’s claim. 10 25 Del. C. § 1601(a) permits a party “asserting a

 claim, the object of which is to affect the title to, or enforce an equitable lien on, real

 estate[,]” to file a notice of pendency of the action with the recorder of deeds of any

 county.11 The Delaware Supreme Court has held that a fundamental requirement of

 the lis pendens doctrine is that the underlying litigation must be “addressed to the

 title or other interests in a specific and identified parcel of land.” 12

        7.    Further, 25 Del. C. § 1601(b)(1) prohibits filing a notice of pendency

 where the “claim relating to real estate which, if sustained, would entitle the party to


 8
   D.I. 9.
 9
   D.I. 8, D.I. 14. The Court also provided Defendant with an opportunity to respond to Plaintiff’s
 argument against assessing attorneys’ fees. D.I. 12. Finally, the Court allowed Plaintiff to contest
 the reasonableness of the attorneys’ fees requested by Defendant. D.I. 16.
 10
    25 Del. C. §§ 1601(b)(1), 1606(3).
 11
    Id. § 1601(a).
 12
    DiSabatino v. Salicete, 695 A.2d 1118, 1119 (Del. 1997).
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 recover solely of money or money damages[.]”13 This same language is repeated in

 § 1606(3) of the statute, as a circumstance which requires mandatory cancellation of

 the notice of pendency.14

        8. Pursuant to 25 Del. C. § 1611, a court may award reasonable attorneys’

 fees to the prevailing party if the court finds that the party against which the

 attorneys’ fees are to be assessed has “wilfully asserted a claim or defense thereof

 without foundation in law or fact[.]” 15

        9.     Defendant avers she incurred $16,097.00 in legal fees and costs in

 connection with the lis pendens, including but not limited to filing and pursuing the

 Motion, investigating the factual and legal bases for the lis pendens, preparing for

 the hearing, correspondence with opposing counsel, and preparing and filing a reply

 to Plaintiff’s Filing Addressing the Basis for Recording a Lis Pendens.16

        10.    Plaintiff acknowledges that recording a lis pendens in this case appears

 improper at first glance, but argues that its allegations of Defendant’s fraudulent

 transfer of real property provide a sufficient connection to real estate such that a

 notice of pendency is appropriate. 17           This argument is tenuous at best.              The


 13
    25 Del. C. § 1601(b)(1).
 14
    Id. § 1606(3).
 15
    Id. § 1611.
 16
    See D.I. 10.
 17
    D.I. 9. Plaintiff relies on a Chancery Court decision for the proposition that a lis pendens may
 be recorded in conjunction with a claim that a defendant seeks to fraudulently transfer interests in
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 underlying litigation at issue here is separate from the sale of Defendant’s personal

 property–it involves a dispute over a contract between two businesses, Plaintiff’s

 and Defendant’s business, and alleges a single claim for breach of personal guaranty.

 The statute unambiguously requires the purpose of the underlying claim to be one

 that “affects the title to, or enforce an equitable lien on, real estate[.]” 18 That

 requirement is not satisfied here.

        11. The Court finds Plaintiff recorded the lis pendens against Defendant’s

 personal property in violation of the express terms of 25 Del. C. §§ 1601(a) and

 (b)(2). The Court has considered Plaintiff’s argument regarding the reasonableness

 of the attorneys’ fees and costs sought by Defendant but finds attorneys’ fees and

 costs in the amount of $16,097.00 to be reasonable.

        WHEREFORE, IT IS HEREBY ORDERED that Plaintiff shall pay

 Defendant’s attorneys’ fees and costs totaling $16,097.00 in connection with the

 Motion for Mandatory Cancellation of Lis Pendens.




 real property, even if the plaintiff may also receive monetary damages from the claim if sustained.
 See Luchi v. Luchi, 2020 WL 1274879, at *5 (Del. Ch. Mar. 17, 2020). This reliance is misguided.
 In Luchi, the underlying litigation involved a claim that the Defendant fraudulently conveyed his
 real property interest to a third party to hinder, delay, or defraud the Plaintiff as his creditor,
 brought under the Delaware Uniform Fraudulent Transfer Act (“DUFTA”). Unlike in Luchi, the
 underlying litigation here is unrelated to the Defendant’s real property interest or DUFTA–it
 involves an alleged breach of personal guaranty in connection with Defendant’s business.
 18
    See supra note 11.
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 Case1:21-cv-00863-CFC
       1:21-cv-00334-UNADocument
                         Document1-1
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                                                03/04/21
                                                       Page
                                                         Page
                                                            1137of
                                                                 of155
                                                                    7 PageID
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                                                                                112
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                                                   Jan R. Jurden

                                              Jan R. Jurden, President Judge



 cc:   Prothonotary




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Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                               03/04/21Page
                                                         Page
                                                            114
                                                              1 of 155
                                                                   42 PageID
                                                                       PageID#:#:113
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                          Exhibit N
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
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                                               03/04/21Page
                                                         Page
                                                            115
                                                              2 of 155
                                                                   42 PageID
                                                                       PageID#:#:114
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                                                      Case No. 2020-1033-JRS


          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE

       KMI GROUP INC.,                                      :
                                                            :
                             Plaintiff,                     :
                                                            :
                 v                                          : C. A. No.
                                                            : 2020-1033-JRS
       NICOLE BOLT COMER,                                   :
                                                            :
                             Defendant.                     :
                                                            :

                                        - - -

                                  Chancery Court Chambers
                                  417 South State Street
                                  Dover, Delaware
                                  Wednesday, December 9, 2020
                                  1:30 p.m.

                                        - - -

       BEFORE: HON. JOSEPH R. SLIGHTS III, Vice Chancellor

                                        - - -




        TELEPHONIC ORAL ARGUMENT and RULINGS OF THE COURT ON
        PLAINTIFF'S MOTION FOR A TEMPORARY RESTRAINING ORDER
                 AND MOTION FOR EXPEDITED PROCEEDINGS




       ------------------------------------------------------
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                 Leonard L. Williams Justice Center
                500 North King Street - Suite 11400
                     Wilmington, Delaware 19801
                           (302) 255-0522
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                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            116
                                                              3 of 155
                                                                   42 PageID
                                                                       PageID#:#:115
                                                                                  127

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  1    APPEARANCES:

  2           PAUL D. BROWN, ESQ.
              TAYLER D. BOLTON, ESQ.
  3           Chipman Brown Cicero & Cole, LLP
                     -and-
  4           DEVIN FREEDMAN, ESQ.
              COLLEEN SMERYAGE, ESQ.
  5           of the Florida Bar
              Roche Cyrulnik Freedman LLP
  6             for Plaintiff

  7           BRIAN M. ROSTOCKI, ESQ.
              MARK W. ECKARD, ESQ.
  8           NICHOLAS R. RODRIGUEZ, ESQ.
              Reed Smith LLP
  9             for Defendant

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      1:21-cv-00334-UNA Document
                         Document1-1
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                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            117
                                                              4 of 155
                                                                   42 PageID
                                                                       PageID#:#:116
                                                                                  128

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  1                           THE COURT:        Good afternoon.         It's Joe

  2    Slights on the line.            Can I get appearances, please.

  3    First, on behalf of the plaintiff.

  4                           MR. BROWN:        Good afternoon, Your

  5    Honor.      Paul Brown of Chipman Brown Cicero & Cole on

  6    behalf of plaintiff, KMI Group Inc.                   With me in my

  7    office is Tayler Bolton.              Also on the line are my

  8    co-counsel, Vel Freedman and Colleen Smeryage.                       They

  9    are both admitted pro hac, and, with the Court's

 10    permission, Mr. Freedman will present argument for KMI

 11    today.

 12                           THE COURT:        All right.       Thank you.

 13    Good afternoon.

 14                           And on behalf of the defendant,

 15    please.

 16                           MR. ECKARD:        Good afternoon, Your

 17    Honor.      This is Mark Eckard from Reed Smith on behalf

 18    of defendant Nicole Bolt Comer.                 With me today on the

 19    line are my colleagues from Reed Smith, Brian Rostocki

 20    and Nicholas Rodriguez.

 21                           THE COURT:        All right.       And who will

 22    be handling the response?

 23                           MR. ECKARD:        I will, Your Honor.           Mark

 24    Eckard.

                             CHANCERY COURT REPORTERS
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                  1-14Filed
                                         Filed
                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            118
                                                              5 of 155
                                                                   42 PageID
                                                                       PageID#:#:117
                                                                                  129

                                                                                    4



  1                           THE COURT:        All right.       Thank you.

  2                           I have had a chance to review the

  3    papers, so please know that we're up to speed.                       But

  4    I'm happy to hear anything that you think I should

  5    know in addition or any points you want to emphasize

  6    from the papers.

  7                           With that, Mr. Freedman, why don't you

  8    take us away.

  9                           MR. FREEDMAN:         Thank you.       Good

 10    afternoon, Your Honor.             And thank you again for

 11    hearing us on an expedited basis.

 12                           Your Honor, KMI has demonstrated in

 13    this case that the defendant, Comer, has a history of

 14    evading legal obligations.               She has filed a bankruptcy

 15    petition where she has listed herself as a co-debtor

 16    of over $4 million worth of loans.                  She has defaulted

 17    on the lawsuit in Pennsylvania, only recently

 18    appearing.        KMI, more importantly, though, has

 19    demonstrated that Comer has a history of evading the

 20    specific debt that is at issue in this case and has

 21    already attempted to use fraudulent means to do so.

 22                           First, she caused Comer Enterprises to

 23    file a bankruptcy without proper notice to KMI.                        She

 24    put her home on the market about one week after she

                             CHANCERY COURT REPORTERS
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                  1-14Filed
                                         Filed
                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            119
                                                              6 of 155
                                                                   42 PageID
                                                                       PageID#:#:118
                                                                                  130

                                                                                    5



  1    was on notice that KMI and related creditors would be

  2    moving to enforce their rights.                 She attempted to move

  3    the closing date from December 10th to December 8th,

  4    after being notified that this TRO application was

  5    coming.      And she blatantly misrepresented the facts in

  6    her sworn declaration, claiming falsely that KMI had

  7    been repaid a little over $90,000, when, in fact, that

  8    wasn't the case.

  9                           As Your Honor saw in the reply brief

 10    we filed, there were clear text messages

 11    contemporaneously that demonstrate these were not

 12    repayments of the KMI debt, but for other

 13    circumstances, including $14,000 she attempted to

 14    defraud the bankruptcy court and the creditors in the

 15    bankruptcy out of by moving it out of her account and

 16    then right back into her account; a $60,000

 17    overpayment, which she refunded because it was an

 18    overpayment; and then literal pictures of credit cards

 19    and then running the credit cards and then her paying

 20    for the use of those credit cards.                  Those were not

 21    repayment of the KMI debt.

 22                           Your Honor, in addition, KMI has shown

 23    that Comer has engaged in a sustained pattern of

 24    wrongful conduct, including using corporate funds for

                             CHANCERY COURT REPORTERS
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                  1-14Filed
                                         Filed
                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            120
                                                              7 of 155
                                                                   42 PageID
                                                                       PageID#:#:119
                                                                                  131

                                                                                    6



  1    her personal use, misappropriating PPP loans.                       And KMI

  2    has shown that Comer is insolvent.                  Your Honor, we

  3    attached a text message from her -- well, we believe

  4    it was her -- then it was her husband.                    Counsel for

  5    Ms. Comer represented it was her ex-husband.                       And then

  6    recently she's now sworn that they are still married.

  7    So I'm -- frankly, I'm not sure of the status.                       But at

  8    the time, in mid-2019, her husband sent a message to

  9    Mr. Lehrer saying if you talk with these lenders, let

 10    them know that they have destroyed my family.                       We will

 11    lose our house.          We don't have anything left.               There

 12    is nothing left.          As of today, I have no income.

 13                           THE COURT:        Can I stop you for a

 14    moment right there.

 15                           What I have now is, under penalty of

 16    perjury, a statement from Ms. Comer that she owns this

 17    property in joint tenants by the entirety with her

 18    husband, who is, if that is true, clearly

 19    indispensable in these proceedings, and yet not named.

 20    Not to mention the fact that if that is the case,

 21    under Delaware law, as I assume in most jurisdictions,

 22    this property would not be subject to any

 23    post-judgment execution on a debt that Ms. Comer

 24    incurred individually.

                             CHANCERY COURT REPORTERS
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                  1-14Filed
                                         Filed
                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            121
                                                              8 of 155
                                                                   42 PageID
                                                                       PageID#:#:120
                                                                                  132

                                                                                    7



  1                           So how do I get past that at this

  2    stage?      I mean, you are asking for an injunction

  3    related to a property that appears to be at least

  4    partially and indivisibly, I should say, owned by

  5    someone not before the Court.

  6                           MR. FREEDMAN:         So, Your Honor, I mean,

  7    it's a good question, and it's borne out by the fact

  8    that we were not -- we were told by counsel here today

  9    that it was an ex-husband.               But assuming she still is

 10    married, I think that's -- that issue can be dealt

 11    with by the fact that Ms. Comer is in the process, if

 12    not currently divorced, in the process of getting

 13    divorced.       We are not seeking to stop the actual sale

 14    of the house, which would be --

 15                           THE COURT:        That can't be dealt with

 16    today, though.         Mr. Comer is not before the Court.

 17    And what you are asking for is restraint relating to a

 18    property, either the property itself or proceeds

 19    derived from the property, and he's not here to defend

 20    that.

 21                           MR. FREEDMAN:         Your Honor --

 22                           THE COURT:        I mean, as a matter of due

 23    process, much less our rules, Rule 19 in particular,

 24    how does the Court even move past that fundamental

                             CHANCERY COURT REPORTERS
Case
 Case1:21-cv-00863-CFC
      1:21-cv-00334-UNA Document
                         Document1-1
                                  1-14Filed
                                         Filed
                                            06/17/21
                                               03/04/21Page
                                                         Page
                                                            122
                                                              9 of 155
                                                                   42 PageID
                                                                       PageID#:#:121
                                                                                  133

                                                                                    8



  1    problem?

  2                           MR. FREEDMAN:         Well, I think, Your

  3    Honor, here, the way to move past it would be to grant

  4    the narrow relief we've requested, which is the

  5    proceeds of the sale that will become Ms. Comer's that

  6    she intends to use to purchase a second house, which

  7    does not have her husband's name on it.                    So clearly --

  8                           THE COURT:        Can I stop you there.            The

  9    proceeds, based on the record I have before me, are

 10    not just Ms. Comer's.            They're Ms. Comer's and her

 11    husband's.        That's the record that's in front of me.

 12    And he's not here.           So you're asking me to, in a

 13    mandatory way, which we'll get to -- not preventative,

 14    but in a mandatory way -- on a TRO, direct Ms. Comer

 15    to do something with proceeds from a sale of a home

 16    that she does not own individually, but in joint

 17    tenants by the entirety with her husband.

 18                           Give me some authority that would

 19    allow me to do that in his absence.

 20                           MR. FREEDMAN:         Your Honor, I can say

 21    two things.        One is that we have a case from the Third

 22    Circuit, In re Titus, which was applying Pennsylvania

 23    law that I can say -- the relevant quote is "when a

 24    spouse conveys individual property to a tenancy by the

                             CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page123
                                                           10of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:122
                                                                             134

                                                                               9



  1    entireties in fraud of creditors, the creditor may

  2    nevertheless execute against the property so

  3    conveyed."      I'm not intimately familiar with the case

  4    yet, Your Honor.        And I would have to look at it.

  5    But --

  6                         THE COURT:       I think that's

  7    fundamentally different.           I'm somewhat familiar with

  8    that line of authority, and what that says is if the

  9    transaction at issue is an attempted conveyance of the

 10    property into a joint tenants by the entirety, that

 11    can be restrained.         But this property, from the record

 12    I have, has been held in that manner from the get-go.

 13                         MR. FREEDMAN:        Right.     Your Honor --

 14                         THE COURT:       So there's nothing

 15    fraudulent about that.

 16                         MR. FREEDMAN:        You are right, Your

 17    Honor, there is a distinction there.               And I -- as I

 18    was reading it, I made that realization that you are

 19    familiar with.

 20                         I can say this.         We've been -- the

 21    Court has been presented with a contract for sale of a

 22    property that does not list Ms. Comer's husband's

 23    name.    And Ms. Comer has represented to this Court

 24    that she intends to use the proceeds of this sale to

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
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                                          06/17/21
                                            03/04/21Page
                                                     Page124
                                                           11of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:123
                                                                             135

                                                                             10



  1    purchase that second home.            She needs it to do the

  2    downpayment on that home.           So, clearly, at some point,

  3    Ms. Comer's intention is to take that money out of it

  4    being held by the entireties.             Otherwise, she could

  5    not purchase a home in her own name and not her

  6    husband's name, if it's not being held by the

  7    entirety.      So at some point along the chain, money

  8    will be distributed that is no longer being held by

  9    the entireties and is only being held by Ms. Comer

 10    that will be used to purchase a home held only in her

 11    name.    And at that point, this Court can affect those

 12    proceeds.

 13                         THE COURT:       Okay.

 14                         MR. FREEDMAN:        So, Your Honor, as

 15    we've shown the Court, beyond the sworn testimony of

 16    Mr. Lehrer that she couldn't make the payroll, she

 17    couldn't make her mortgage payments, that she was

 18    taking corporate and PPP funds and using them

 19    inappropriately, she has completely failed to rebut a

 20    presumption that she is not insolvent, which she could

 21    have done easily by providing a sworn declaration from

 22    her CPA showing us her bank account.               Instead, she

 23    provided her credit scores, which, Your Honor, she has

 24    attempted to manipulate, as we have shown the Court in

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page125
                                                           12of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:124
                                                                             136

                                                                             11



  1    her text messages.         And, anyway, it doesn't reflect

  2    her solvency; it just reflects that she has made

  3    minimum payments on time.

  4                         Your Honor, turning to the standard of

  5    a TRO, a TRO issues if there is a threat of imminent

  6    irreparable injury, unless the claim is frivolous or

  7    the risk in granting it is not -- is outweighed by the

  8    risk of not granting it.           That's because, Your Honor,

  9    at this early stage, there hasn't been a chance, like

 10    in a preliminary injunction proceeding, there simply

 11    hasn't been an opportunity for discovery and a record.

 12    Therefore, the focus is on the injury itself.

 13                         THE COURT:       Can I stop you for a

 14    moment here and ask, on this question of what standard

 15    applies, that standard applies to a preventative

 16    restraint.      But what you're asking me to do is beyond

 17    that, isn't it?        You're asking me to direct this

 18    defendant to do something she otherwise would not do,

 19    which is to create an escrow account and then to place

 20    funds in it.       And in that sense, this is mandatory

 21    relief.     And if that is so, under settled law, made

 22    perfectly clear by our Supreme Court in 2014 in the

 23    C&J case, this Court can't do that without a trial or

 24    without an undisputed factual predicate, neither of

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page126
                                                           13of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:125
                                                                             137

                                                                             12



  1    which exists here.

  2                         So setting aside the indispensable

  3    party problem, how do I get to a point where I'm

  4    directing Ms. Comer to do something in a preliminary

  5    restraining order when we've not had a trial and the

  6    facts are absolutely disputed?

  7                         MR. FREEDMAN:        So, Your Honor, I think

  8    the way to get around that issue is in two ways.                    One

  9    is, because this is a unique circumstance where the

 10    funds are being -- Ms. Comer claims that the proceeds

 11    of the sale are then going to be immediately turned

 12    around and placed into another sale, that these

 13    proceeds will be held by attorneys in trust accounts,

 14    and Ms. Comer can just be instructed not to remove

 15    them from those trust accounts.

 16                         Separately, Your Honor, I understand

 17    the issue, and if the Court is not comfortable with

 18    that resolution, we would be happy with an order

 19    directing Ms. Comer not to -- to hold the funds and

 20    not distribute them to anyone, which would not be a

 21    mandatory injunction.

 22                         But I think those are two ways to

 23    avoid the mandatory injunction problem this Court has

 24    flagged.     One would be to just order her not to remove

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
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                                          06/17/21
                                            03/04/21Page
                                                     Page127
                                                           14of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:126
                                                                             138

                                                                             13



  1    the funds from the trust accounts of the attorneys

  2    that are handling the closing, or the other would be

  3    to order her simply to hold the funds and not

  4    distribute them to anyone.

  5                         THE COURT:       All right.      So then, at

  6    that point, by the implicit direction, I'm directing

  7    attorneys to take custody of funds indefinitely?

  8                         MR. FREEDMAN:        In the first -- in the

  9    first prong, Your Honor, I guess, not indefinitely,

 10    but pending resolution of a preliminary injunction

 11    motion, yes, Your Honor.

 12                         THE COURT:       Okay.

 13                         MR. FREEDMAN:        Your Honor, we've cited

 14    case law that shows that the injury here would be

 15    irreparable when there is a fraudulent transfer at

 16    issue and the defendant is insolvent.                Most directly

 17    applicable to that precedent would be the Mitsubishi

 18    case that we have cited to the Court, where BBIPL,

 19    which was a subsidiary of Babcock, owed money to

 20    Mitsubishi.      Babcock's parent went into bankruptcy

 21    proceedings.       Mitsubishi learned about it, that they

 22    would be selling certain assets, and sought an

 23    injunction to prevent any sale outside the normal

 24    course of business, but to allow fair market value

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page128
                                                           15of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:127
                                                                             139

                                                                             14



  1    transactions if the proceeds were placed in escrow.

  2                         The Court found there, Your Honor,

  3    that "[t]he threat of a fraudulent transfer will

  4    constitute irreparable harm warranting injunctive

  5    relief," and found that Mitsubishi's claim for

  6    irreparable harm hinged on whether it could show --

  7    quoting again -- "a colorable claim that [Babcock]

  8    intends to engage in one or more fraudulent transfers

  9    in the near future."          It did find that and granted the

 10    exact TRO that KMI is seeking here, Your Honor.

 11                         We have cited a substantial amount of

 12    other authority that goes to the proposition that when

 13    there is an equitable claim like fraudulent transfer

 14    or an equitable lien, coupled with insolvency, a TRO

 15    to preserve the assets is appropriate.                That's the

 16    Stoltz Realty case we cited, the Bayard v. Martin case

 17    that we cited that would say, you know, a money

 18    judgment would not produce the dollars -- sorry.                    That

 19    monetary judgments are not adequate when "a money

 20    judgment would not produce the dollars," as courts of

 21    equity often intervene in cases of insolvency.

 22                         Most on point, Your Honor, is the

 23    Destra case that we have cited from Vice Chancellor

 24    Laster, who enjoined the transfer of cash proceeds

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page129
                                                           16of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:128
                                                                             140

                                                                             15



  1    from a merger transaction pending final disposition of

  2    the case.      And in that case, Your Honor, said best by

  3    the Vice Chancellor -- and I'm quoting him here --

  4    "the most likely remedy is a form of damages.                   The

  5    problem is that the entities that stand to receive

  6    cash from the third-party merger can immediately

  7    distribute those proceeds outside of the court's

  8    control.     Complicating matters further, the plaintiffs

  9    have shown that [defendant] has a history of evading

 10    judgments and failing to pay legal obligations.                   A

 11    meaningful threat that a defendant may render relief

 12    meaningless by dissipating assets or removing them

 13    from the court's jurisdiction has been held to support

 14    preliminary relief."          And, Your Honor, Vice Chancellor

 15    Laster directed that -- entered a preliminary

 16    injunction directing that all proceeds were to be held

 17    in escrow pending resolution of the case.

 18                         The only two cases that Ms. Comer

 19    brings to rebut this Court's authority to enter that

 20    kind of a TRO, Your Honor, are Henson and Du Pont.                    In

 21    Henson, it's a little bit ironic, because counsel for

 22    Ms. Comer, Brian Rostocki, who is here before the

 23    Court, argued exactly the other side of the case he is

 24    arguing now, which is in their papers argued that the

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page130
                                                           17of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:129
                                                                             141

                                                                             16



  1    threat of a further fraudulent transfer warranted

  2    injunctive relief.         But the difference in Henson, key

  3    distinction, the reason the Court denied the relief in

  4    Henson is because at oral argument counsel conceded

  5    that issues involving the payment of royalties could

  6    be remedied by damages and, therefore, did not create

  7    a risk of irreparable harm.            Whereas here, no such

  8    concession has been made.           In fact, the opposite is

  9    being stated.

 10                         The other case is Du Pont.             And the

 11    fundamental distinction between Du Pont and this case

 12    is that here, there's a fraudulent transfer claim,

 13    Your Honor.      And Du Pont was a jurisdictional

 14    decision, and it found that chancery courts did not

 15    have jurisdiction because there was no equitable

 16    claim.     And some of the relevant quotations from

 17    Du Pont would be "[n]o claim ... here" is -- "is made

 18    here that the proposed transfer of HEM's funds is

 19    independently wrongful."           No claim for a trust is

 20    asserted in the specific expenditure.                "HEM is not

 21    presently insolvent, and the proposed dividend ...

 22    will not render it insolvent."             And in that case,

 23    there was no claim for a fraudulent transfer like

 24    there is one here.         Although the Court said, you know,

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page131
                                                           18of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:130
                                                                             142

                                                                                17



  1    there is no claim that it's independently wrongful,

  2    here there is one.         And the authority is quite clear

  3    that this Court can enter a temporary restraining

  4    order in furtherance of avoiding a fraudulent

  5    transfer.

  6                         Your Honor, the claim here that this

  7    is a fraudulent transfer is certainly colorable.                    As

  8    an initial matter, the statutory factors are not

  9    exhaustive.      You can look at other things; other

 10    courts have.       The Haining Court we have cited to the

 11    Court looked at the fact that a bankruptcy was filed

 12    without notice to the plaintiff.              That happened here

 13    too.    Other nonstatutory factors relevant here:                 The

 14    attempt to move the sale date and the

 15    misrepresentations about repayments.               Even as to the

 16    factors in the statute itself, Your Honor, we have

 17    alleged at least three of them, that they occurred --

 18    the sale occurred right after suit was being

 19    threatened, the transfer of substantially all the

 20    assets, and the debtor is insolvent.

 21                         Your Honor, in this case here, KMI

 22    believes it's shown that there is -- if this Court

 23    does not enter a TRO, it will not be able to collect

 24    these funds.       And I understand that the Court is

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page132
                                                           19of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:131
                                                                             143

                                                                             18



  1    concerned about the tenancy by the entireties.                   And I

  2    think the way to resolve that issue is simply an order

  3    that affects the funds after they are taken out of the

  4    tenancy by the entirety, which is clearly the

  5    intention of Ms. Comer because she intends to buy a

  6    house in her own name.

  7                         And in terms of a mandatory

  8    injunction, Your Honor, I think that that can be

  9    avoided by either directing it to be -- for it to

 10    remain in trust or for her to simply hold the funds

 11    and, you know, not expend them until this Court has a

 12    further opportunity to rule on this case.                 But if the

 13    Court has any concerns based on this record, if the

 14    Court does not enter the TRO, because the closing is

 15    scheduled for the 10th, the relief will be defeated.

 16    So we would ask that Your Honor err on the side of

 17    caution in this instance and grant the limited TRO

 18    that we're seeking here.

 19                         Hello.     Did I disconnect?

 20                         (Discussion held off the record.)

 21                         THE COURT:       It's Joe Slights.         I'm

 22    back in.     I did, for some reason, have a dropped call.

 23    I'm not sure why.         I'm on a land line.         But, in any

 24    event, with realtime, I was able to follow along with

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page133
                                                           20of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:132
                                                                             144

                                                                             19



  1    Mr. Freedman's argument to its conclusion.                  So I

  2    didn't miss anything in that regard.

  3                         Unless there's anything further on

  4    behalf of the plaintiff, I'll hear from Mr. Eckard at

  5    this time.

  6                         MR. FREEDMAN:        Nothing more from me,

  7    Your Honor, unless you have any questions.

  8                         THE COURT:       I don't at this time.

  9    Thank you.

 10                         Mr. Eckard.

 11                         MR. ECKARD:       Yes.    Thank you, Your

 12    Honor.     Again, just for purposes of the record, Mark

 13    Eckard from Reed Smith for Nicole Bolt Comer.

 14                         Your Honor, nothing just said -- and I

 15    will be happy to go through some of the facts that

 16    were just cited, which, as Your Honor noted, are

 17    absolutely disputed.          But nothing just said obviates

 18    the fact that this is another attempt by plaintiff to

 19    obtain relief to which plaintiff is not entitled.

 20    This is a breach of contract claim.               Specifically, a

 21    breach of a personal -- an alleged breach of a

 22    personal guarantee.         Plaintiff not only pleads for

 23    money damages alone; plaintiff pleads for a liquidated

 24    certain definite amount of money damages.                 There is no

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page134
                                                           21of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:133
                                                                             145

                                                                             20



  1    irreparable harm in this case.             And that was already

  2    found by President Judge Jurden, who very clearly

  3    found that this case pleads a claim for money damages.

  4                         There, in the Superior Court case, the

  5    plaintiff unlawfully recorded a lis pendens against

  6    our client's property.          That is not proper unless the

  7    claim touches upon the land.             And in making her

  8    decision, Judge Jurden again found very clearly that

  9    this is a case about money damages.

 10                         Here, plaintiff literally is asking

 11    the Court for proceeds of the sale of what I will call

 12    the Autumwood property.           And, Your Honor, the

 13    Autumwood property is the property that defendant is

 14    selling, and what I call the Westmoreland property is

 15    the property that defendant is buying.                Plaintiff has

 16    here -- here, plaintiff has literally asked the Court

 17    for proceeds from the sale of the Autumwood property

 18    to be put into an escrow account to satisfy a

 19    potential future judgment, which is the best evidence

 20    that this is a case for money damages.                They are

 21    literally asking for a pot of money.               The only slight

 22    difference between this complaint and the Superior

 23    Court complaint is that here, plaintiff has formally

 24    pleaded a claim for fraudulent transfer, which,

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page135
                                                           22of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:134
                                                                             146

                                                                             21



  1    although not pleaded as a separate claim in the

  2    Superior Court, was the thrust of plaintiff's claim to

  3    be allowed to record a lis pendens.               And the complaint

  4    does talk about an alleged fraudulent transfer.                   And,

  5    again, Judge Jurden found clearly that this is a claim

  6    for money damages.

  7                         I would also point out to Your Honor

  8    that the fraudulent transfer claim, it doesn't make

  9    sense because plaintiff, as Your Honor has noted,

 10    is -- excuse me.        Defendant, as Your Honor has noted,

 11    is selling a house or property that is currently held

 12    as tenants by the entirety.            And, Your Honor, I asked

 13    the closing attorney in this case for a copy of the

 14    deed, and I am, indeed -- pardon me.               I am sitting

 15    here looking at a deed made the 15th day of March,

 16    2012, that is granted to Dudley M. Comer and Nicole

 17    Comer, husband and wife.           And in the, what we call the

 18    habendum clause of the deed, it says:                To their heirs

 19    and assigns, as tenants by the entirety, in fee

 20    simple.     And that deed -- again, I apologize this is

 21    not in the record.         But it is public record document

 22    number 2012-0319-0015194.           And, again, I obtained that

 23    from the real estate attorney that is doing the

 24    closing of the sale of the Autumwood property.

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page136
                                                           23of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:135
                                                                             147

                                                                             22



  1                         So it doesn't make sense, the

  2    fraudulent transfer claim, because defendant, if she

  3    were trying to effect a fraudulent transfer, certainly

  4    would not take property that is currently held as

  5    tenants by the entirety and put it into a property

  6    that is in her name only and, therefore, readily

  7    available for attachment and execution after a

  8    judgment might be issued.

  9                         Plaintiffs also misread the holding of

 10    Henson v. Sousa, which relied on Section 1307(a)(3)(a)

 11    of the Delaware Uniform Fraudulent Transfer Act to

 12    state, "Regardless of whether" -- and I will put in

 13    brackets plaintiff -- "Regardless of whether

 14    [plaintiff] has articulated a colorable claim of

 15    fraudulent transfer, he still bears the burden of

 16    showing that he will be irreparably harmed without a

 17    TRO."    There, the plaintiff failed to show irreparable

 18    harm because, as stated by the Court, the alleged harm

 19    at issue in Henson "if it exists, can be adequately

 20    redressed via money damages."

 21                         And counsel for plaintiff just made

 22    our point in that respect.            Henson is directly on

 23    point because the issue of diversion of royalty fees

 24    in that case could be remedied with money damages.

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page137
                                                           24of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:136
                                                                             148

                                                                               23



  1    And that's what the Court held.

  2                         So even if plaintiff here pleads a

  3    colorable claim for a fraudulent transfer, just

  4    pleading a claim -- a colorable claim for a fraudulent

  5    transfer does not constitute the showing of immediate

  6    irreparable harm that's required.              Again, this is a

  7    claim for money damages.           What do you get if you win?

  8    And in this case, plaintiff, if plaintiff wins -- if

  9    plaintiff were to win this case, they would get money

 10    damages.

 11                         And further, plaintiff has not made a

 12    sufficient showing of a potential fraudulent transfer.

 13    Defendant is selling her property to unrelated third

 14    parties pursuant to an arm's-length real estate deal

 15    that was negotiated through real estate agents.                   The

 16    price being received is a fair price for the property.

 17    And, in fact, here, plaintiff doesn't say this -- they

 18    learned from their mistake in the Superior Court --

 19    but in the Superior Court case, plaintiff actually

 20    seemed to be pleading that it was a fraudulent

 21    transfer because the Autumwood property was selling

 22    for higher than market value, which again is

 23    backwards.      And defendant then is buying a property, a

 24    replacement property, what I call the Westmoreland

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page138
                                                           25of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:137
                                                                             149

                                                                             24



  1    property, from an unrelated third party pursuant to an

  2    arm's-length real estate deal that was negotiated

  3    through real estate agents.            And in trying -- they

  4    have not shown that defendant is failing to pay her

  5    debts as they become due, nor have they shown that

  6    plaintiff's liabilities exceed her assets.                  And in

  7    trying to show that defendant is insolvent, plaintiff

  8    is conflating two very different sets of facts.

  9                         First, plaintiff is conflating the

 10    former corporate debt and cash flow difficulties and

 11    bankruptcy of Comer Enterprises, Inc. with defendant's

 12    personal financial situation.             And, Your Honor, being

 13    listed as a co-debtor in a bankruptcy is different

 14    than being a debtor.          I just want to make clear that

 15    when somebody is listed as a co-debtor, it means that

 16    they are somebody that is potentially liable also for

 17    certain claims of the bankruptcy debtor.                 Nicole Bolt

 18    Comer did not file for bankruptcy.

 19                         So the second thing that plaintiff

 20    conflates is financial stress that was occurring at

 21    the time of the filing of the Comer Enterprises

 22    bankruptcy with defendant's personal situation now.

 23    Plaintiff cites numerous times, and discussed here a

 24    few times, a text from defendant's husband that was

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page139
                                                           26of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:138
                                                                             150

                                                                             25



  1    obviously at a time when he was obviously under severe

  2    financial stress, talking about their dire financial

  3    situation.      But plaintiff doesn't exactly highlight

  4    the fact that that text was sent in 2019, right around

  5    the time that Comer Enterprises, Inc. was filing

  6    bankruptcy.

  7                         Your Honor, with regard to the balance

  8    of harms, it's very -- we would respectfully suggest

  9    that it's important for the Court to take note that

 10    the harms here would not only affect Nicole Bolt

 11    Comer, but they would also affect third parties.

 12    There are folks that are buying the Autumwood property

 13    that, again, are unrelated third parties.                 And there

 14    is somebody that is expecting to sell the Westmoreland

 15    property.      And, Your Honor, we don't know if that --

 16    if the seller is also planning to then take those

 17    proceeds and immediately put it into another purchase.

 18    And this triggers almost a domino effect of damages

 19    and harms to people other than Nicole Bolt Comer.

 20                         And, Your Honor, with regard to our

 21    arguments about whether or not plaintiff pleads a

 22    colorable claim for breach of the personal guarantee

 23    of the corporate merchant -- corporate merchant cash

 24    advance debt and the issue of usury, we will rest on

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page140
                                                           27of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:139
                                                                             151

                                                                              26



  1    our papers on that.

  2                         And I thank Your Honor for hearing me

  3    today.

  4                         THE COURT:       All right.      Thank you.

  5                         Are there issues with connection?                It

  6    appears I've gotten an email, that I'm just now seeing

  7    and reading as I speak, from Mr. Brown indicating

  8    there might have been some connection issues.

  9                         Mr. Brown, if you're on the line,

 10    perhaps you can weigh in to just bring us up to speed

 11    on what you're encountering.

 12                         (Mr. Brown rejoined the conference

 13    call.)

 14                         MR. ECKARD:       Was Your Honor able to

 15    hear my argument?

 16                         THE COURT:       I was, yes.      My line

 17    dropped for a moment, or my connection dropped.                   I

 18    dialed back in.        And as I stated before you began your

 19    presentation, I was able to follow the balance of

 20    counsel's argument through the realtime transcript,

 21    which was only the conclusion.

 22                         But I did receive an email just now

 23    from Mr. Brown indicating that both he and Mr. Eckard

 24    may have dropped off.          And, Mr. Eckard, I don't think

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page141
                                                           28of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:140
                                                                             152

                                                                              27



  1    that's probably accurate because you've been speaking.

  2    But, Mr. Brown, I hear that you rejoined.

  3                         MR. BROWN:       I did, Your Honor.         So,

  4    yes, Mr. Eckard was speaking, and it appeared from my

  5    perspective his line went dead.               I couldn't hear him.

  6    And my line cut out.          I was immediately concerned,

  7    because I thought it would disconnect everybody, as

  8    it's my conference bridge.            So I am glad to hear that

  9    it did not disrupt the proceedings.

 10                         THE COURT:       No.     And I think

 11    Mr. Eckard was not disconnected.               I was able to hear

 12    him throughout his presentation.

 13                         MR. FREEDMAN:          And I was able to hear

 14    Mr. Eckard's argument as well.

 15                         I have a very short rebuttal, if the

 16    Court would grant me that time.

 17                         THE COURT:       Of course.

 18                         MR. FREEDMAN:          So, Your Honor, in

 19    terms of the lis pendens, it's a little bit inaccurate

 20    in terms of what transpired.             We did not oppose the

 21    motion to remove the lis pendens.               The judge really

 22    didn't decide anything with the benefit of briefing.

 23    We agreed to withdraw it, and then the judge expressed

 24    some concern of why it had been filed in the first

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page142
                                                           29of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:141
                                                                             153

                                                                             28



  1    place, and that's where those comments were generated.

  2                         Subsequent to that -- and we intend to

  3    explain to the judge in the Superior Court that there

  4    is precedent from this Court, specifically the Luchi

  5    case that was entered by, I think it was Master in

  6    Chancery Griffin and then adopted by the Chancellor,

  7    that the filing of a lis pendens is appropriate in a

  8    fraudulent transfer claim because the fraudulent

  9    transfer itself -- the claim of fraudulent transfer

 10    establishes an interest in the property.

 11                         I think that's not an issue before the

 12    Court right now, but I just wanted to explain that

 13    there is a basis for why we filed that lis pendens.

 14    But we did agree that the weight of authority kind of

 15    cuts against that, and we thought we were better off

 16    here in front of this Court.

 17                         Your Honor, I have had some more time

 18    to think about your mandatory versus prohibitive

 19    injunction.      I think another potential way for us to

 20    skin that cat, in addition to the ways I have

 21    identified before, would be to enter an injunction

 22    prohibiting the sale of her interest or her --

 23    prohibiting her ability to consummate the transaction

 24    unless she were to place the funds in escrow.                   And

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page143
                                                           30of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:142
                                                                             154

                                                                             29



  1    that -- her portion of the funds in escrow.                  And that

  2    would just be an order affecting Ms. Comer and her

  3    ability to consummate the sale and sign final

  4    documents.      But that would fall off if she were to

  5    place the funds in escrow, and that would be a

  6    prohibitive injunction, not a mandatory injunction.

  7                         Your Honor, the other thing I heard

  8    Mr. Eckard say over and over again is that this is a

  9    monetary damages case.          He's right and he's wrong.            It

 10    is a monetary damages case.            But the case law is clear

 11    that in a monetary damages case, when there is a claim

 12    for fraudulent transfer coupled with insolvency, the

 13    chancery courts are empowered to use temporary

 14    restraining orders and preliminary injunctions to help

 15    avoid the fraudulent transfer and stop the fraudulent

 16    transfer from occurring.           So the fact that there are

 17    monetary damages and we're seeking monetary damages,

 18    that's irrelevant because there's also a claim for

 19    fraudulent transfer and a claim for insolvency, and

 20    the case law speaks very clearly that this Court is

 21    now empowered to prevent that from going forward.

 22                         In terms of insolvency, Your Honor, we

 23    made a showing that Ms. Comer is insolvent based on

 24    sworn testimony and a pattern of wrongful conduct.

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page144
                                                           31of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:143
                                                                             155

                                                                             30



  1    We've shown that she has completely failed to rebut

  2    that presumption with any persuasive evidence that we

  3    have put forward.         We can't possibly prove insolvency

  4    on a temporary restraining order application since we

  5    haven't had an opportunity to do discovery.                  But based

  6    on Ms. Comer's prior conduct and what's going on in

  7    this case, if this Court does not enjoin the proceeds

  8    of this sale, then KMI will be out its money and she

  9    will fraudulently avoid this sale.               And that is the

 10    irreparable harm that we're asking this Court to

 11    enjoin to stop a circumstance where Ms. Comer will

 12    fraudulently convey the assets that KMI is meant to

 13    collect on, and then we will be left with an insolvent

 14    debtor.

 15                         And the case law we have cited to the

 16    Court is chock-full of the propriety of that relief

 17    under these circumstances.            So we ask the Court to

 18    enter the TRO.

 19                         THE COURT:       All right, Counsel.

 20                         First off, thanks for your excellent

 21    arguments.      Given the exigencies here, I think it

 22    makes sense to give you my ruling on the motions now

 23    rather than have you wait.            And for reasons I'll

 24    explain in a moment, I'm going to deny both

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page145
                                                           32of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:144
                                                                             156

                                                                             31



  1    plaintiff's motion for a temporary restraining order

  2    and its motion to expedite proceedings.

  3                         By way of brief background, on

  4    July 18, 2019, plaintiff, KMI Group Inc., or "KMI,"

  5    acquired from Comer Enterprises Inc./The Allere Group,

  6    or "seller," $184,819 of the seller's accounts

  7    receivable in exchange for $123,213 to be paid to

  8    seller in installments.           This transaction was

  9    memorialized in what the parties refer to as the

 10    purchase agreement.

 11                         The purchase agreement called for

 12    accelerated payment of the amounts owed in the event

 13    of default, and defendant, Nicole Comer, personally

 14    guaranteed the amounts owed in her capacity as

 15    seller's owner, agent, and manager.

 16                         Seller subsequently sought bankruptcy

 17    protection, and KMI's loan has not yet been fully

 18    repaid.     Upon learning that Ms. Comer now seeks to

 19    sell her personal residence, KMI first initiated what

 20    the Superior Court deemed to be a misguided attempt to

 21    attach a lis pendens on the title of the property.

 22    And then, when that was not successful, KMI filed a

 23    complaint in this Court and moved simultaneously to

 24    expedite proceedings and for a temporary restraining

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page146
                                                           33of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:145
                                                                             157

                                                                             32



  1    order that would require Ms. Comer to place proceeds

  2    from the sale in escrow pending resolution of KMI's

  3    breach of contract claim.

  4                         The standards for a TRO and a motion

  5    to expedite are well-settled in Delaware, and they

  6    substantially overlap.          To expedite proceedings, the

  7    movant must demonstrate a colorable claim and the

  8    existence of immediate irreparable harm.                 To obtain a

  9    TRO, the movant must demonstrate those same elements

 10    and also that a balancing of the equities justifies

 11    the restraint.

 12                         Turning directly to the motion for a

 13    TRO, that extraordinary interim relief is

 14    inappropriate on this record for multiple reasons.

 15                         First, Ms. Comer has stated under

 16    penalty of perjury that she is married and the

 17    property at issue is owned by both her and her husband

 18    as joint tenants by the entirety.              That allegation is

 19    not meaningfully disputed.            It's at paragraph 5 of her

 20    declaration.

 21                         KMI acknowledges in its opening brief

 22    that if Ms. Comer owns her home with her husband as

 23    tenants entirety, the property is not subject to

 24    attachment by Ms. Comer's creditors.               The implications

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page147
                                                           34of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:146
                                                                             158

                                                                             33



  1    of this are several, but I'll mention just two here.

  2    First, Ms. Comer's husband is most certainly an

  3    indispensable party, and yet he has not been joined.

  4    Second, if it is true that the property is not subject

  5    to post-judgment execution, then there is no colorable

  6    claim for fraudulent conveyance and no threat of

  7    irreparable harm if the property is sold.

  8                         Another threshold problem with the

  9    requested TRO is that it is not purely preventative,

 10    as plaintiff would have it seem in its papers; there

 11    is a mandatory element in what plaintiff is seeking

 12    here.    Specifically, plaintiff would have the Court

 13    compel Ms. Comer to place proceeds from the sale in a

 14    designated escrow account.            That is mandatory relief.

 15    And as our Supreme Court made clear in its 2014

 16    decision in C&J Energy Services v. City of Miami

 17    General Employees', this Court may order a mandatory

 18    injunction only after a trial or on an undisputed

 19    factual record.        Neither predicate exists here.

 20                         Even if the Court were to look past

 21    the absence of an indispensable party or the mandatory

 22    relief plaintiff seeks here, KMI's motion for a TRO

 23    still falls short.         Distilled to its essence, KMI's

 24    claim seeks from Ms. Comer money damages based on a

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page148
                                                           35of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:147
                                                                             159

                                                                             34



  1    breach of the purchase agreement and the associated

  2    personal guarantee.         KMI admits as much when it

  3    characterizes the irreparable harm flowing from

  4    Ms. Comer's sale of her residence as the prospect of

  5    KMI being left without recourse in the event it

  6    prevails on its breach of contract claim after

  7    Ms. Comer has transferred title to her home and

  8    absconded with the proceeds.             That's a paraphrase

  9    quote from KMI's opening brief in support of the

 10    motion.

 11                         Thus, KMI effectively asks the Court

 12    through its TRO to enter a prejudgment attachment of

 13    Ms. Comer's assets by holding the proceeds of her sale

 14    in escrow.      Under well-established principles of

 15    Delaware law, "[e]quitable relief that has the sole

 16    function and effect of freezing [] assets in place to

 17    make them available to satisfy any possible future

 18    money judgment ... is not within the proper exercise

 19    of the Court's power."          That's a quote from this

 20    Court's 1997 decision in Uragami v. Century

 21    International Credit Corporation.              For that reason,

 22    "this Court has consistently held that the power of

 23    injunction is not available merely to aid in the

 24    enforcement of a future money judgment."                 That's

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page149
                                                           36of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:148
                                                                             160

                                                                             35



  1    another quote, this time from this Court's 2017

  2    decision in Canal View Investment Company v. Beacon

  3    Canal View.

  4                         Ms. Comer's private home bears no

  5    relation to the obligation on which KMI seeks to

  6    collect, and thus the only possible interest KMI has

  7    in the proceeds of its sale is to aid in the

  8    enforcement of a future money judgment on a claim at

  9    law that has yet to be adjudicated.

 10                         In many cases, this Court has made

 11    clear that when the request for injunctive relief is

 12    disconnected to an underlying claim in equity, and is

 13    instead an attempt to attach assets for satisfaction

 14    of a yet-to-be-adjudicated unrelated legal claim, the

 15    request is improper.          Perhaps most notable in that

 16    line of authority is then-Vice Chancellor Jacobs' 1989

 17    decision in Du Pont v. HEM Research.

 18                         Indeed, the case KMI relies upon in

 19    its reply illustrates the point.              In Vice Chancellor

 20    Laster's 2017 decision in the Destra case, the

 21    injunction was not issued on a fraudulent transfer

 22    claim, but on a breach of fiduciary duty claim, which

 23    sounds in equity as an interim remedy for that breach.

 24    There's no underlying claim in equity at issue here.

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page150
                                                           37of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:149
                                                                             161

                                                                             36



  1                         KMI argues equitable relief is

  2    authorized under the Delaware Uniform Fraudulent

  3    Transfer Act, or UFTA, because Ms. Comer is a debtor

  4    presumed to be insolvent, and a creditor may obtain an

  5    attachment under Section 1308 of that act upon

  6    appropriate showing.          But Section 1307(a)(3)(a) of the

  7    UFTA makes clear that injunctive relief is "subject to

  8    applicable principles of equity."              That's a quote.

  9                         KMI's only evidence of Ms. Comer's

 10    insolvency is an affidavit from Mr. Moshe Lehrer.

 11    That affidavit makes much of seller's bankruptcy as

 12    evidence of a serial failure to pay debts.                  But that's

 13    not a reasonable inference.            An entity's bankruptcy

 14    filing, which, of course, is a lawful means by which

 15    to manage debt, says nothing of the solvency or not of

 16    that entity's owners.

 17                         For her part, Ms. Comer has submitted

 18    in her declaration that Mr. Lehrer introduced her to

 19    KMI's high-interest loans, that he or his family

 20    controls KMI, and that Ms. Comer has since cut ties

 21    with Mr. Lehrer due to his attempts to extort money

 22    from her and her business.            That, of course, is denied

 23    by KMI.     Ms. Comer further attests that she is

 24    solvent.     And on this record, I have no way of

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page151
                                                           38of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:150
                                                                             162

                                                                              37



  1    resolving this threshold issue of fact.                Moreover,

  2    both of the transactions at issue here appear

  3    indisputably to be on arm's-length terms.                 There is no

  4    meaningful allegation that the transactions themselves

  5    are the product of fraud.

  6                         The colorable claim bar for a TRO is

  7    notoriously low.        But it's hard to say that the bar

  8    has been cleared here, where the record is a knot of

  9    vehement claims and equally vehement denials.                   It's

 10    also particularly difficult in this context to view

 11    the balancing of equities tipping in the movant's

 12    favor.

 13                         In this regard, as an aside, I note

 14    that nowhere in the papers submitted does KMI mention

 15    the posting of a bond, as required by Rule 65(c),

 16    which, in my view, would have to be substantial if a

 17    TRO were to issue, given that the requested TRO

 18    addresses Ms. Comer's personal residences, both the

 19    one she wishes to sell and the one she wishes to buy.

 20    Real property is a unique asset, and to deny one the

 21    ability to acquire that asset, only later to discover

 22    that the restraint was improvidently granted, is a

 23    risk that must be addressed with substantial security.

 24    But that is not even acknowledged, much less

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page152
                                                           39of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:151
                                                                             163

                                                                             38



  1    meaningfully addressed in the papers.

  2                         More to the point, on this record, I

  3    cannot conclude that the harm to KMI in the absence of

  4    a TRO outweighs the harm to Ms. Comer if the TRO were

  5    to be issued improvidently.            Indeed, KMI acknowledges

  6    that the real harm here is that there might be

  7    additional steps required to execute a judgment on the

  8    property that Ms. Comer is to purchase in

  9    Westmoreland.       That there may be additional steps

 10    required, on balance, compared to the harm to

 11    Ms. Comer if I was to restrain that transaction

 12    improvidently, in my view, does not satisfy the

 13    "balancing of the harms" element that is essential to

 14    KMI's burden.

 15                         So for all of these reasons, I'm

 16    satisfied that the motion for a temporary restraining

 17    order must be denied.

 18                         KMI's motion to expedite fails for the

 19    same reasons.       The costs of expedition are

 20    presumptively unwarranted "unless there is a showing

 21    of good cause" to justify them.              That's a quote from

 22    this Court's 2014 decision in Platinum Partners v.

 23    Echo Therapeutics.         As noted, to establish good cause,

 24    the movant must show a threat of irreparable injury.

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page153
                                                           40of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:152
                                                                             164

                                                                             39



  1    KMI's argument for irreparable injury is predicated

  2    exclusively on Ms. Comer's purported insolvency.                    But

  3    KMI has failed on this record to make a colorable

  4    claim of insolvency and, more to the point, has failed

  5    to demonstrate that the subject of the alleged

  6    fraudulent transfer would be available to creditors if

  7    the underlying claims for breach of contract are

  8    successful.      Thus, the motion to expedite must also be

  9    denied.

 10                         That concludes my ruling.            I'm going

 11    to ask that defense counsel submit a proposed form of

 12    order denying the motion for the reasons stated on the

 13    record this afternoon, after giving notice of the form

 14    of order to plaintiff's counsel.              I'll ask that that

 15    be submitted for the Court's consideration by

 16    December 16th.

 17                         While I'm not looking for reargument

 18    at this time, I'm happy to answer any questions for

 19    the sake of clarification.            So, Mr. Freedman, I will

 20    begin with you.        Any questions for clarification?

 21                         MR. FREEDMAN:        No, Your Honor.        Thank

 22    you for the ruling.

 23                         THE COURT:       All right.      And,

 24    Mr. Eckard, any questions?

                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page154
                                                           41of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:153
                                                                             165

                                                                             40



  1                         MR. ECKARD:       No, Your Honor.        Thank

  2    you.

  3                         THE COURT:       All right.      Well, thank

  4    you, Counsel, for your excellent submissions and

  5    helpful arguments this afternoon.              Sorry we

  6    encountered technical difficulties, but I think we

  7    worked our way through them.             So thanks for your

  8    indulgence there as well.

  9                         I wish you all a good day.             Please do

 10    stay safe and sane.         And with that, we are adjourned.

 11               (Proceedings concluded at 2:25 p.m.)

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                           CHANCERY COURT REPORTERS
Case
Case1:21-cv-00863-CFC
     1:21-cv-00334-UNA Document
                       Document1-1
                                1-14Filed
                                      Filed
                                          06/17/21
                                            03/04/21Page
                                                     Page155
                                                           42of
                                                              of155
                                                                 42 PageID
                                                                    PageID#:
                                                                           #:154
                                                                             166

                                                                             41



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  2                                 CERTIFICATE

  3

  4                         I, DEBRA A. DONNELLY, Official Court

  5    Reporter for the Court of Chancery of the State of

  6    Delaware, Registered Merit Reporter, Certified

  7    Realtime Reporter, and Delaware Notary Public, do

  8    hereby certify that the foregoing pages numbered 3

  9    through 40 contain a true and correct transcription of

 10    the proceedings as stenographically reported by me at

 11    the hearing in the above cause before the Vice

 12    Chancellor of the State of Delaware, on the date

 13    therein indicated, except for the rulings, which were

 14    revised by the Vice Chancellor.

 15                         IN WITNESS WHEREOF I have hereunto set

 16    my hand at Wilmington, this 18th day of December,

 17    2020.

 18

 19                           /s/ Debra A. Donnelly
                            ----------------------------
 20                              Debra A. Donnelly
                             Official Court Reporter
 21                        Registered Diplomate Reporter
                            Certified Realtime Reporter
 22                           Delaware Notary Public

 23

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